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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)     *           MDL 2592
PRODUCTS LIABILITY LITIGATION    *
                                 *           SECTION L
THIS DOCUMENT RELATES TO:        *
      ALL CASES                  *           JUDGE ELDON E. FALLON
                                 *
                                 *           MAG. JUDGE NORTH
                                 *
************************


                            EXHIBIT 8 TO
      PLAINTIFFS’ MOTION TO PRECLUDE SPECULATIVE TESTIMONY
       FROM SIX DEFENSE EXPERTS ABOUT POTENTIAL OUTCOMES
                   FROM OTHER ANTICOAGULANTS




FILED UNDER SEAL
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       PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW

   1                   UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
   2
   3
         IN RE: XARELTO                  )   MDL No.: 2592
   4     (RIVAROXABAN) PRODUCTS          )   Section: L
         LIABILITY LITIGATION            )   Judge Eldon E. Fallon
   5                                     )   Mag. Judge North
                                         )
   6                                     )
         JOSEPH J. BOUDREAUX             )
   7                                     )   Civil Case No.:
         versus                          )   2:14-cv-02720
   8                                     )
         JANSSEN RESEARCH &              )
   9     DEVELOPMENT, ET AL              )
  10
  11
  12    PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW
  13
  14
  15
  16       Videotaped Deposition of MARC J. KAHN, M.D.,
  17    M.B.A., taken on Friday, January 13, 2017, in the
  18    office of Chaffe McCall, L.L.P., 1100 Poydras
  19    Street, Suite 2300, New Orleans, Louisiana 70163
  20    commencing at 8:36 a.m.
  21
  22
  23
        Reported by:
  24    AURORA M. PERRIEN
        CERTIFIED COURT REPORTER
  25    REGISTERED PROFESSIONAL REPORTER

 Golkow Technologies, Inc.                                        Page 1 (1)
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                                                 Page 2                                                     Page 4
  1               INDEX                                    1 REPRESENTING BAYER HEALTHCARE PHARMACEUTICALS,
                                   Page                      INC., and BAYER PHARMA AG:
  2                                                        2
       Caption.............................1                    NELSON, MULLINS, RILEY & SCARBOROUGH,
  3
                                                           3    L.L.P.
       Appearances.........................3                    BY: MICHAEL W. HOGUE, ESQ.
  4
                                                                1320 Main Street, 17th Floor
       Agreement of Counsel................5               4
                                                                Columbia, South Carolina 29201
  5
       Witness' Certificate................163             5    803.255.9514
  6                                                             Michael.hogue@nelsonmullins.com
       Reporter's Certificate..............164             6
  7
                                                                ARNOLD & PORTER KAYE SCHOLER, L.L.P.
  8
                                                           7    BY: JULIE B. duPONT, ESQ.
           EXAMINATION                                          250 West 55th Street
  9
       MR. GOZA............................7               8    New York, New York 10019-9710
 10                                                             212.836.8572
 11                                                        9    Julie.dupont@apks.com
 12            EXHIBITS                                   10
 13    Exhibit No. 1.......................9              11
       Plaintiffs' Amended Notice with                       ALSO PRESENT:
 14    Subpoena Duces Tecum of Oral Videotaped
       Deposition of Marc J. Kahn, MD                     12
                                                                MARK ANCALADE, VIDEOGRAPHER
 15
       Exhibit No. 2.......................9              13
 16    Report of Dr. Marc J. Kahn, MD, MBA                14
 17    Exhibit No. 3.......................20             15
       KNMH Telemetry, Progress Note,                     16
 18    JBoudreaux-OMC-K-MD-000017                         17
 19    Exhibit No. 4.......................74
       Highlights of Prescribing Information              18
 20                                                       19
       Exhibit No. 5.......................116            20
 21    "Clinical Pharmacokinetic and                      21
       Pharmacodynamic Profile of Rivaroxaban"            22
 22
 23                                                       23
 24                                                       24
 25                                                       25

                                                 Page 3                                                      Page 5
  1         APPEARANCES                                    1             STIPULATION
  2 REPRESENTING PLAINTIFFS:
  3    GOZA & HONNOLD, L.L.C.                              2   It is stipulated by and among Counsel that
       BY: KIRK J. GOZA, ESQ.                              3 the videotaped deposition of MARC J. KAHN, M.D.,
  4    11181 Overbrook Road, Suite 200
       Leawood, Kansas 66211-2241                          4 M.B.A., is being taken under the Federal Rules of
  5    913.451.3433
       Kgoza@gohonlaw.com                                  5 Civil Procedure for all purposes permitted under
  6
       THE LAMBERT FIRM, A.P.L.C.                          6 the law.
  7    BY: EMILY C. JEFFCOTT, ESQ.
       701 Magazine Street                                 7   The formalities of reading and signing are
  8    New Orleans, Louisiana 70130                        8 not waived.
       504.581.1750
  9    Ejeffcott@thelambertfirm.com                        9    The formalities of sealing, certification
 10    BARRIOS, KINGSDORF & CASTEIX, L.L.P.
       BY: EMMA E. KINGSDORF, ESQ.                        10 and filing are not hereby waived. The party
 11    701 Poydras Street, Suite 3650
       New Orleans, Louisiana 70139-3650                  11 responsible for services of the discovery material
 12    504.524.3300                                       12 shall retain the original.
       Ekingsdorf@bkc-law.com
 13                                                       13   All objections, except those as to the
 14
    REPRESENTING JANSSEN PHARMACEUTICALS, INC.,           14 form of the questions and/or the responsiveness of
 15 JANSSEN RESEARCH & DEVELOPMENT, L.L.C., JANSSEN
    ORTHO, L.L.C.:                                        15 the answers, are reserved until the time of the
 16                                                       16 trial of this cause.
       IRWIN, FRITCHIE, URQUHART & MOORE,
 17    L.L.C.                                             17               * * * * *
       BY: KIM E. MOORE, ESQ.
 18    400 Poydras Street, Suite 2700                     18         Aurora M. Perrien, Certified Court
       New Orleans, Louisiana 70130-3280
 19    504.310.2108                                       19 Reporter, Registered Professional Reporter, in and
       Kmoore@irwinllc.com                                20 for the State of Louisiana, officiated in
 20
       BARRASSO, USDIN, KUPPERMAN, FREEMAN &              21 administering the oath to the witness.
 21    SARVER, L.L.C
       BY: ANDREA M. PRICE, ESQ.                          22
 22    909 Poydras Street, 24th Floor
       New Orleans, Louisiana 70112                       23
 23    504.589.9700                                       24
       Aprice@barrassousdin.com
 24                                                       25
 25

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  1           PROCEEDINGS                                 1       Is that true?
  2      THE VIDEOGRAPHER:                                2    A. That is correct.
  3         My name is Mark Ancalade, the                 3    Q. And that deposition was taken on Monday of
  4      videographer with Golkow Technologies.           4 this week, I believe?
  5      Today's date is January the 13th, 2017, at       5    A. That is correct.
  6      the time indicated on the video screen,          6    Q. And I know that the attorney in that
  7      which is 8:36. Today's deposition is             7 deposition gave you some basic instructions
  8      being held at 1100 Poydras Street,               8 regarding depositions, but I'm just going to
  9      Suite 2300, New Orleans, Louisiana taken         9 restate a few things.
 10      in the matter of In Reference: Xarelto          10       Obviously if you need to look at something
 11      (rivaroxaban) Products Liability                11 in order to respond to a question, please ask, and
 12      Litigation, Case Nos. 2:14-cv-02720.            12 we'll try to dig up whatever it is that you need
 13      Today's deponent is Dr. Marc J. Kahn. Our       13 in order to get you to be able to answer a
 14      court reporter is Miss Aurora Gonzales          14 question. All right?
 15      [sic].                                          15    A. That's fine.
 16         I would ask that counsel state their         16    Q. If I ask you a question that you don't
 17      names for the record, which thereafter          17 understand -- I'm -- I'm not a doctor, and we'll
 18      would the court reporter please swear in        18 be using some medical terms today. But if I use a
 19      the witness.                                    19 term incorrectly or you don't understand what I am
 20      MR. GOZA:                                       20 asking you, simply ask me to rephrase it, and I'll
 21         Kirk Goza on behalf of the plaintiffs.       21 try to make it intelligible to you.
 22      MS. KINGSDORF:                                  22       Is that fair enough as well?
 23         Emma Kingsdorf on behalf of the              23    A. That's fair.
 24      plaintiffs.                                     24    Q. And if at some point you need to take a
 25      MS. JEFFCOTT:                                   25 break, please ask me and we'll stop the

                                               Page 7                                                  Page 9
  1          Emily Jeffcott on behalf of the              1 deposition. The only caveat to that would be if I
  2       plaintiffs.                                     2 am in the middle of a question, I would just
  3       MS. PRICE:                                      3 propose that you answer the question fully before
  4          Andrea Mahady Price on behalf of             4 we take the break, and then we can take a break
  5       Janssen.                                        5 whenever you need. All right?
  6       MS. MOORE:                                      6    A. I understand.
  7          Kim Moore on behalf of Janssen.              7    Q. Okay. You're here. We noticed up your
  8       MR. HOGUE:                                      8 deposition for today, January 13th, in
  9          Michael Hogue on behalf of Bayer.            9 New Orleans. Let me just ask.
 10       MS. duPONT:                                    10       Have you brought anything with you today
 11          Julie duPont on behalf of Bayer.            11 pertaining to the Boudreaux case other than your
 12       (The court reporter swore in the witness.)     12 report?
 13            EXAMINATION                               13    A. I have not.
 14 BY MR. GOZA:                                         14    Q. Okay. So we have what has been marked as
 15    Q. Doctor, if you would, please state your        15 Exhibit 2 in front of you that -- your report in
 16 full name for the record.                            16 this case?
 17    A. My full name is Marc, M-A-R-C -- I use a       17       (Exhibit No. 2 was marked for
 18 middle initial -- J. Kahn, K-A-H-N.                  18       identification and attached hereto.)
 19    Q. And your business address, sir?                19       THE WITNESS:
 20    A. My business address is 1430 Tulane Avenue,     20         That's correct.
 21 No. 8010, New Orleans, Louisiana 70112.              21 BY MR. GOZA:
 22    Q. Okay. And, Doctor, prior to today, you         22    Q. Okay. And then we have as Exhibit 1 the
 23 had your opportunity to have your deposition taken   23 notice for the deposition in the case; is that
 24 in the -- I think you were identified as a generic   24 correct as well?
 25 expert in the MDL litigation.                        25       (Exhibit No. 1 was marked for

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  1       identification and attached hereto.)         1     A. I met with my counsel last evening.
  2       THE WITNESS:                                  2    Q. And between Monday, the time that you gave
  3          That's correct.                            3 your deposition in the generic case, and the
  4 BY MR. GOZA:                                        4 opportunity to give your deposition here today,
  5    Q. And I assume at some point you had an         5 how many times have you met or talked about the
  6 opportunity to see the notice?                      6 Boudreaux case with counsel?
  7    A. I have.                                       7    A. Two times.
  8    Q. Okay. With respect to the Boudreaux case      8    Q. When was the first time?
  9 -- and I know you have a number of items listed in  9    A. I believe it was Wednesday night.
 10 your reliance list that are included in your       10    Q. And how long did you spend together
 11 generic report that you have done in this case;    11 Wednesday night?
 12 correct?                                           12    A. I'd have to check my records. I believe
 13    A. That's correct.                              13 it was about two-and-a-half hours.
 14    Q. Now, it appears in -- with respect to the    14    Q. And where did that meeting take place?
 15 Boudreaux case in particular, that on Exhibit A    15    A. That meeting took place in my office.
 16 you have a list of the materials that you have     16    Q. And then you said you met last night as
 17 reviewed specifically as it relates to this case?  17 well?
 18    A. Exhibit A is a list of the case-specific     18    A. That's correct.
 19 materials that were considered and reviewed        19    Q. And how long was that meeting?
 20 regarding the case review. Correct.                20    A. I believe that was 2 hours and 15 minutes.
 21    Q. Okay. Let's see if we could cover some       21    Q. And where did that meeting take place?
 22 basic facts and if you and I are in agreement on   22    A. That meeting also took place in my office.
 23 at least certain basic facts.                      23    Q. All right. So going back to my original
 24       This patient was presented to primary care   24 questions, is it fair to say that on
 25 provider Nurse Torres on January 7th, 2014 and     25 January 7th, 2014 Mr. Boudreaux was admitted to

                                             Page 11                                              Page 13
  1 ultimately admitted to the hospital that day; is   1the hospital and was subsequently diagnosed with
  2 that correct?                                     2 atrial fibrillation?
  3    A. Give me a minute to refer to my report.     3    A. That is correct.
  4    Q. I think it's on Page 4 of your report.      4    Q. Okay. And he had a PT that was taken on
  5    A. So on Page 4 of my report, I say on         5 that day that you indicate in your notes was 11.4,
  6 June 1st there were labs that were reported in    6 which would have been within the normal range for
  7 reference to a presentation by Mr. Boudreaux on   7 that lab. True?
  8 May 30th, when he presents to his primary care    8    A. That's correct.
  9 provider.                                         9    Q. To your knowledge, had Mr. Boudreaux ever
 10    Q. Okay. Look down the next paragraph. I      10 had an elevated PT prior to January 7th, 2014?
 11 mean, I'm trying to get to the date of his       11    A. Give me a minute to refer to my report.
 12 diagnosis of atrial fibrillation. Do you see     12    Q. I read your report -- well, go ahead.
 13 where that starts on January 7th, 2014? It's the 13    A. I'm comfortable saying if it's not
 14 next paragraph down.                             14 mentioned in my report I don't have knowledge that
 15    A. I'm sorry. I see -- I see where you're     15 he had a prior prothrombin time.
 16 referring to. On Page 4, midway down,            16    Q. Okay. And certainly no elevated
 17 "Mr. Boudreaux presented to his primary care     17 prothrombin time prior to that. True?
 18 provider, Nurse Torres, on January" 7th, "2014." 18    A. If that's not listed in my report, that's
 19 Yes.                                             19 correct.
 20    Q. Okay. And when was the last time you had 20 Q. In fact, the only -- or strike that.
 21 an opportunity to review your report?            21       The -- in terms of reviewing your report,
 22    A. I reviewed my report last night.           22 the only elevated prothrombin time that
 23    Q. Okay. And when was the last time you had 23 Mr. Boudreaux had was after his diagnosis on
 24 an opportunity to meet with the lawyers for the  24 February 3rd of 2014 of a GI bleed. Is that true?
 25 defense in this case?                            25       MS. duPONT:

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  1         Object to form.                            1    provided, I'm assuming, Julie, that we
  2      THE WITNESS:                               2       have that list of -- of actual records
  3         So let me look at the time of his GI    3       that he saw?
  4      bleed to see what his prothrombin time     4       MS. duPONT:
  5      was. That would be on                      5          I believe it's the -- Exhibit A states
  6      February 14th, 2014.                       6       as of 11/14/16. It would be whatever was
  7      MS. duPONT:                                7       -- had been produced by plaintiffs as of
  8         Do you mean February 3rd?               8       that time.
  9      THE WITNESS:                               9       MR. GOZA:
 10         That would be February 3rd. I'm        10          Okay.
 11      sorry. I'm just looking for my            11 BY MR. GOZA:
 12      prothrombin time. I don't want to --      12    Q. Now, is -- now, am I correct that
 13 BY MR. GOZA:                                   13 Mr. Boudreaux was started on Xarelto in the
 14    Q. Here, look at Page 7. On the top of      14 hospital after his diagnosis of atrial
 15 Page 7 --                                      15 fibrillation?
 16    A. Yeah. I don't --                         16    A. According to my review of records,
 17    Q. -- there was a PT of --                  17 correct.
 18    A. Of 13.6 seconds.                         18    Q. And the first time he would have received
 19    Q. Right.                                   19 his first pill of Xarelto would have been at
 20    A. Yes. Thank you.                          20 approximately 9:00 a.m. January 8th of 2014.
 21    Q. Okay.                                    21 True?
 22    A. I'm -- I'm trying not to rely on memory. 22 A. I'd have to check the record for the exact
 23 I want to make sure I stick to my report.      23 timing -- for the exact time of day that was
 24    Q. No. I'm -- I'm fine with that. I --      24 administered.
 25    A. Yeah.                                    25    Q. Do you know as you sit here what time he
                                             Page 15                                              Page 17
  1    Q. -- just want to make sure I understand.      1would have gotten it, what time of day or
  2       So the only time that you're aware of that  2 generally what time of day?
  3 Mr. Boudreaux had an elevated PT or at least the  3    A. I don't know what time of day. There's a
  4 first time would have been February 3rd of 2014; 4 recommendation that the drug be given at night. I
  5 is that correct?                                  5 don't have the record in front of me to see when
  6       MS. duPONT:                                 6 specifically Mr. Boudreaux received his first dose
  7          Object to form.                          7 of rivaroxaban.
  8       THE WITNESS:                                8    Q. Right. And obviously while
  9          So that's what's stated in my report.    9 Mr. Boudreaux's in the hospital, it's not in his
 10       Based on my review of the records          10 control when he receives the first pill of
 11       provided, the -- the first time there was  11 rivaroxaban. Is that true?
 12        an elevation in prothrombin time would    12       MS. duPONT:
 13       have been February 3rd.                    13          Object to form.
 14 BY MR. GOZA:                                     14       THE WITNESS:
 15    Q. Okay. And in terms of the records you      15          While in the hospital, patients are
 16 reviewed, if we look at Exhibit 8 [sic], it says 16       typically given drugs by the nursing
 17 that you had reviewed all records as of 11/14 of 17       staff.
 18 2016; is that correct?                           18 BY MR. GOZA:
 19    A. I reviewed all provided records as of that 19 Q. On February 4th of 2014, Mr. Boudreaux was
 20 date. Correct.                                   20 diagnosed with a GI bleed; is that correct?
 21    Q. Okay. So you would qualify it with         21       MS. duPONT:
 22 "provided records." Is that true?                22          Object to form.
 23    A. That's correct.                            23       THE WITNESS:
 24       MR. GOZA:                                  24          On February 4th, Mr. Boudreaux was
 25          Okay. And in terms of list of what is   25       examined and diagnosed with a GI bleed,

 Golkow Technologies, Inc.                                                     Page 5 (14 - 17)
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  1       according to the medical record.                   1 BY MR. GOZA:
  2 BY MR. GOZA:                                             2    Q. Well, let me just hand you a page out of
  3    Q. And he was admitted to the ICU?                    3 the record, and this appears to be I think from
  4    A. Mr. Boudreaux was admitted to the                  4 Dr. Masri.
  5 hospital.                                                5      Who do you understand Dr. Masri was?
  6    Q. And he was given blood transfusions, at            6      MS. duPONT:
  7 least two units that first day?                          7         Are you making this as an exhibit?
  8    A. Mr. Boudreaux received two units of blood          8      MR. GOZA:
  9 that first day.                                          9         Oh. I'm sorry. Yeah. Let's go ahead
 10    Q. And a total of four units of blood before         10      and mark that as an exhibit. I apologize.
 11 he was released from the hospital. Is that true?        11      (Exhibit No. 3 was marked for
 12    A. Correct. Mr. Boudreaux received two               12      identification and attached hereto.)
 13 additional units of blood prior to discharge.           13      MS. duPONT:
 14    Q. And -- and am I correct that prior to             14         And -- and go ahead and take time to
 15 February 4th of 2014 Mr. Boudreaux had never been       15      -- to review the full record before you
 16 diagnosed with any kind of acute GI bleed; is that      16      answer, Doctor.
 17 correct?                                                17      MR. HOGUE:
 18    A. Per the records provided me, there's no           18         Is that Exhibit 3?
 19 other mention of a GI bleed on Mr. Boudreaux's          19      MS. duPONT:
 20 part.                                                   20         Yeah. It's --
 21    Q. Okay. Mr. Boudreaux had been on a number          21      MR. GOZA:
 22 of medications prior to the administration of           22         This is --
 23 Xarelto on January 8th of 2014; is that correct?        23      MS. duPONT:
 24       MS. duPONT:                                       24         -- Exhibit 3.
 25          Object to form.                                25      MR. GOZA:
                                                Page 19                                                  Page 21
  1      THE WITNESS:                                        1          -- Exhibit 3. Yes.
  2         That's correct.                                  2 BY MR. GOZA:
  3 BY MR. GOZA:                                             3    Q. So I --
  4    Q. And with respect to his taking those               4    A. I believe the first --
  5 medications, at least in terms of your review of         5    Q. Let -- let me --
  6 the records, there's no diagnosis that any of            6    A. -- question --
  7 those medications ever caused him to have an acute       7    Q. Let's -- before we started asking a
  8 GI bleed. Is that true?                                  8 question, let's just get a couple of things clear
  9      MS. duPONT:                                         9 for the record.
 10         Object to form.                                 10       I have marked as Exhibit 3 a progress note
 11      THE WITNESS:                                       11 that was done by Dr. Masri on February 4th of 2014
 12         The records provided me in review did           12 at approximately 7:40 a.m. Do you see that?
 13      not state that Mr. Boudreaux had                   13    A. I do.
 14      previously had a GI bleed.                         14    Q. And does it say, "GI bleed - Related to
 15 BY MR. GOZA:                                            15 recent Xarelto initiation"?
 16    Q. In the hospital, Mr. Boudreaux's GI bleed         16    A. That is what is written in the record.
 17 was diagnosed as having been related to his             17    Q. And you had an opportunity to review that
 18 ingestion of Xarelto; is that correct?                  18 when you were preparing for your deposition in
 19      MS. duPONT:                                        19 this case. Is that true?
 20         Objection to form.                              20    A. I did.
 21      THE WITNESS:                                       21    Q. Do you believe that the PT that was done
 22         I don't know what was specifically              22 on February 4th that showed a PT that we -- wait.
 23      stated in the record, but I think that             23 Let's see.
 24      that's a statement that requires                   24       A 13.6, do you believe that was an
 25      clarification.                                     25 indication that Mr. Boudreaux was anticoagulated


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  1 to some degree?                                       1      reproducible fashion elevates the
  2      MS. duPONT:                                      2      prothrombin time. Many other
  3         Object to form. Misstates the record.         3      anticoagulants such as those that inhibit
  4      MR. GOZA:                                        4      platelets like aspirin have no effect on
  5         Well . . .                                    5      the prothrombin time. So it's -- it's
  6      MS. duPONT:                                      6      anticoagulant-dependent.
  7         It's not -- it's not February 4th, I          7 BY MR. GOZA:
  8      don't think.                                     8    Q. Tell me this -- I understand that many
  9      MR. GOZA:                                        9 things can cause an elevation of prothrombin.
 10         Ah. Okay. Let's -- let's -- that --          10      Is it going to be your testimony in this
 11      let's get that cleared.                         11 case that Xarelto played no role in the elevation
 12 BY MR. GOZA:                                         12 of Mr. Boudreaux's PT elevation on
 13    Q. The PT taken on February 3rd of 2014 of        13 February 3rd of 2014?
 14 13.6, is it your opinion or can you tell me          14      MS. duPONT:
 15 whether it's your opinion that that indicates that   15         Object to form.
 16 to some extent Mr. Boudreaux was anticoagulated?     16      THE WITNESS:
 17      MS. duPONT:                                     17         I think it's my testimony that the
 18         Object to form.                              18      relationship between prothrombin time and
 19      THE WITNESS:                                    19      Xarelto is inconclusive and inconsistent.
 20         There are many things that can cause         20 BY MR. GOZA:
 21      an elevation in the prothrombin time. The       21    Q. Then let me ask the question --
 22      prothrombin time is not -- strike what I        22    A. And -- and further --
 23      just said.                                      23    Q. Oh. Sorry.
 24         There are many things that cause an          24    A. -- there is no consensus panel nor
 25      elevation of prothrombin time. Most             25 national group that recommends using the

                                              Page 23                                                Page 25
  1      notably abnormalities in collection can       prothrombin time as a means of assessing
                                                          1
  2      cause a prolonged prothrombin time. I'm     2 anticoagulation with rivaroxaban. It's
  3      uncomfortable saying that Mr. Boudreaux 3 inconsistent.
  4      was anticoagulated solely because of a PT 4 Q. What would have been the purpose of
  5      that's elevated a second or two above       5 ordering a prothrombin time in this circumstance?
  6      control.                                    6    A. I was not the ER physician. But it's
  7 BY MR. GOZA:                                     7 common practice that when patients come in with a
  8   Q. Would gastrointestinal bleeding be          8 bleeding -- come in bleeding, that routine
  9 consistent with someone who was on an            9 anticoagulation tests such as the prothrombin time
 10 anticoagulant?                                  10 and the activated partial thromboplastin time are
 11      MS. duPONT:                                11 checked.
 12         Object to form.                         12    Q. And why?
 13      THE WITNESS:                               13    A. Those are commonly checked to see if -- if
 14         Any anticoagulant by nature of it       14 there's  a potential confounding reason why the
 15      being an anticoagulant can cause an        15 patient may have GI bleeding.
 16      underlying lesion to bleed.                16       I can go on to say that it's common
 17 BY MR. GOZA:                                    17 practice in many emergency rooms to get these
 18   Q. And when an anticoagulant causes an        18 tests even in patients that aren't bleeding.
 19 underlying lesion to bleed, is there oftentimes 19 There are labs that are just routinely ordered by
 20 associated with it an elevated PT?              20 an ER when patients come in. Those can include
 21      MS. duPONT:                                21 coagulation tests, can include a complete blood
 22         Object to form.                         22 count, and can include electrolytes.
 23      THE WITNESS:                               23    Q. Are they more likely to be included on a
 24         That really depends on the              24 patient  that is on an anticoagulant?
 25      anticoagulant. Warfarin clearly in a       25       MS. duPONT:

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  1          Object to form.                             1      THE WITNESS:
  2       THE WITNESS:                                   2         -- concerned about an elevation in
  3          So because some anticoagulants can          3      prothrombin time, I would repeat the test
  4       increase either the prothrombin time, the      4      and make sure it's properly collected.
  5       activated partial thromboplastin time, or      5 BY MR. GOZA:
  6       both, those can be checked to assess           6    Q. You use the word "cannot rule out" a
  7       whether or not somebody is adequately          7 number of times in your report. True?
  8       anticoagulated on one of those drugs.          8      MS. duPONT:
  9          But I want to state for the record          9         Do you want to refer him to a
 10       that rivaroxaban has an irreproducible and    10      specific --
 11       unreliable effect on the prothrombin time.    11      MR. GOZA:
 12       MR. GOZA:                                     12         Sure.
 13          Yeah. Move to strike as                    13      MS. duPONT:
 14       nonresponsive.                                14         -- part of the report?
 15 BY MR. GOZA:                                        15 BY MR. GOZA:
 16    Q. I understand what your opinions are in        16    Q. If you look at Page 9 -- I'll just get you
 17 this case, and I've -- I've read some of them in    17 one example. On the fourth paragraph, it says,
 18 the -- in the generic testimony. And we're going    18 "There is no way to rule out the same GI bleed
 19 to talk about those in some detail.                 19 Mr. Boudreaux experienced."
 20       But with respect to this case, is it going    20      Do you see that?
 21 to be your testimony that Xarelto played no role    21    A. I do. About the fifth paragraph down.
 22 in the elevation of Mr. Boudreaux's prothrombin     22    Q. Yes, sir.
 23 time?                                               23    A. Yes.
 24       MS. duPONT:                                   24    Q. And so I'm simply asking that term "there
 25          Objection. Asked and answered.             25 is no way to rule out."

                                             Page 27                                               Page 29
  1        THE WITNESS:                                  1      Would you agree with me that in this case
  2           My testimony is going to be that it is     2 there is no way to rule out that Xarelto played
  3        unclear whether or not rivaroxaban played     3 some role in anticoagulating Mr. Boudreaux on
  4        a role in the prothrombin elevation. The      4 February 3rd of 2014?
  5        most frequent reason to have an elevation     5      MS. duPONT:
  6        in the prothrombin time is inadequate         6         Object to form.
  7        specimen collection. We see that all the      7      THE WITNESS:
  8        time in clinical practice.                    8         I think there's no way to rule out
  9 BY MR. GOZA:                                         9      that rivaroxaban anticoagulated
 10     Q. Here, nobody reordered the PT to determine   10      Mr. Boudreaux at the time of his arrival
 11 if there was an inadequate collection, did they?    11      to the emergency room.
 12     A. To the best of my knowledge, no.             12 BY MR. GOZA:
 13     Q. In fact, when somebody's concerned about     13   Q. And would you agree as well that there's
 14 an inadequate collection, oftentimes the PT's run   14 no way to rule out that that anticoagulation
 15 again. True?                                        15 played a role in Mr. Boudreaux's GI bleed?
 16     A. It -- I -- when I am asked to see a          16      MS. duPONT:
 17 patient with an elevated prothrombin time, the      17         Object to form.
 18 first thing I do is repeat the test and make sure   18      THE WITNESS:
 19 it's collected correctly. I can't comment on what   19         I think that any anticoagulant, by
 20 other physicians may or may not do.                 20      nature of it being an anticoagulant, can
 21     Q. Okay. But it would be your standard          21      make a preexisting lesion more likely to
 22 practice to do that. True?                          22      bleed. Correct.
 23     A. If I'm --                                    23 BY MR. GOZA:
 24        MS. duPONT:                                  24   Q. Right. And so with respect to this
 25           Object to form.                           25 case -- because Mr. Boudreaux was not on any


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   1 anticoagulant. He was on Xarelto during this              1     bleeding. I think that product labels are
   2 period.                                                   2     written for a variety of reasons. It
   3      So my question is this: Am I correct that            3     doesn't cause bleeding.
   4 you cannot rule out that Xarelto played a role in         4        What rivaroxaban and similar
   5 Mr. Boudreaux's GI bleed?                                 5     anticoagulants do is -- by virtue of the
   6      MS. duPONT:                                          6     -- by nature of the fact that they are
   7         Object to form.                                   7     anticoagulants, they can -- they can make
   8      THE WITNESS:                                         8     a preexisting lesion more likely to bleed.
   9         I think one could not rule out that               9     I don't consider that cause. I consider
  10      rivaroxaban, being an anticoagulant,                10     that perhaps contribute to. But I don't
  11      predisposed a preexisting lesion that               11     like the word "cause," even though I fully
  12      Mr. Boudreaux had to bleed.                         12     recognize that's a word used in the label.
  13 BY MR. GOZA:                                             13 BY MR. GOZA:
  14    Q. And since being taken off Xarelto, to your         14   Q. Okay. And that was my point.
  15 knowledge, has Mr. Boudreaux ever been diagnosed         15     Certainly the company represents to
  16 with an acute GI bleed?                                  16 physicians and others that they can cause bleeds.
  17    A. As far as the records provided me, there           17 True?
  18 is no other suggestion that Mr. Boudreaux has had        18     MS. duPONT:
  19 a significant GI bleed.                                  19        Object to form.
  20    Q. In fact, just with respect to the record           20     THE WITNESS:
  21 provided to you, nobody's ever diagnosed him with        21        I don't know why the company put that
  22 any kind of GI bleed. Is that true?                      22     in their product insert. I don't work for
  23      MS. duPONT:                                         23     the FDA.
  24         Object to form.                                  24 BY MR. GOZA:
  25      THE WITNESS:                                        25   Q. Right. And I'm not --
                                                   Page 31                                                Page 33
   1          Mr. Boudreaux has had a persistent               1    A. But I think --
   2       anemia. That could be consistent with a             2    Q. I'm not asking you why.
   3       GI bleed. But to the best of my review of           3      I'm simply saying they do represent that
   4       the records, there's no -- there's been no          4 in the label. True?
   5       diagnostic test or procedure to ascertain           5    A. The label says rivaroxaban can cause
   6       that this was secondary to GI bleeding.             6 bleeding. Correct.
   7 BY MR. GOZA:                                              7    Q. And that includes GI bleeding. True?
   8    Q. Right. So going back to my original                 8    A. That --
   9 question, which was very specific, there has been         9      MS. duPONT:
  10 no physician that has diagnosed Mr. Boudreaux as         10         Object to form.
  11 having any kind of GI bleed since February 4th of        11      MS. MOORE:
  12 2014; is that correct?                                   12         Object to the form. Counsel, I'm
  13    A. Per my review of the records, there is no          13      sorry --
  14 -- there's been no physician that has diagnosed          14      MS. duPONT:
  15 Mr. Boudreaux with a GI bleed subsequent to the          15         Just --
  16 initial visit.                                           16      MS. MOORE:
  17    Q. I think you've made clear that there's no          17         -- to interrupt. Could we just note
  18 question but that Xarelto can cause bleeds. True?        18      that the objections made by --
  19       MS. duPONT:                                        19      MR. GOZA:
  20          Object to form.                                 20         Sure.
  21       THE WITNESS:                                       21      MS. MOORE:
  22          I disagree with that statement. I               22         -- Miss duPont will be uniform for --
  23       think that the definition of "cause" is in         23      MR. GOZA:
  24       question. I know that in the product               24         Yes.
  25       label it does say that rivaroxaban causes          25      MS. MOORE:
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   1         -- for Bayer?                                 1   the case with rivaroxaban.
   2      MS. duPONT:                                   2 BY MR. GOZA:
   3         And also, try not to cut him off. I        3   Q. And just so -- so I understand clearly,
   4      know -- I know you're not trying to but       4 what you're saying is that a patient could have an
   5      he --                                         5 underlying condition, a preexisting condition, and
   6      MR. GOZA:                                     6 that when rivaroxaban is added to it, it can along
   7         Sometimes --                               7 with the underlying condition cause a bleed?
   8      MS. duPONT:                                   8      MS. duPONT:
   9         -- he -- sometimes he's -- he's --         9         Object --
  10      hasn't finished his answer.                  10      MS. MOORE:
  11 BY MR. GOZA:                                      11         Object.
  12    Q. Go ahead.                                   12      MS. duPONT:
  13      MS. duPONT:                                  13         -- to form. Misstates prior
  14         Maybe you can read back the question.     14      testimony.
  15      THE WITNESS:                                 15      THE WITNESS:
  16         Could you please --                       16         I think what I've said is that
  17 BY MR. GOZA:                                      17      rivaroxaban in and of itself does not
  18    Q. My -- my question --                        18      cause bleeding. But if somebody has an
  19    A. -- repeat the question?                     19      underlying lesion with a propensity to
  20    Q. -- was simply --                            20      bleed, rivaroxaban can increase the
  21    A. I'm sorry.                                  21      likelihood that bleeding will occur in
  22    Q. -- this: We've already -- I think you've    22      that patient.
  23 agreed with me that the company represents in the 23 BY MR. GOZA:
  24 label that Xarelto can cause bleeds, and that     24   Q. In other words, contribute to the risk of
  25 includes GI bleeds, is my question?               25 bleed?

                                               Page 35                                                 Page 37
   1      MS. duPONT:                                      1       MS. duPONT:
   2         Object to form.                               2          Object to form.
   3      THE WITNESS:                                     3       THE WITNESS:
   4         So the company states that rivaroxaban        4          Rivaroxaban can contribute to the
   5      can cause bleeding, and GI bleeds are one        5       propensity of -- of an underlying lesion
   6      potential complication listed in the             6       to bleed, as can any anticoagulant.
   7      product label.                                   7       MR. GOZA:
   8 BY MR. GOZA:                                          8          Move to strike the last part as not
   9   Q. And I understand -- well, I -- I think I         9       being responsive.
  10 hear what you're saying.                             10 BY MR. GOZA:
  11      You're saying you believe that there is         11    Q. In your review of the facts in the case,
  12 some underlying lesion -- for -- or strike that --   12 you said one of the things that -- or strike that.
  13 an underlying lesion that the drug Xarelto will      13       In -- in going through the records, you
  14 precipitate the bleed in; is that correct?           14 saw that Dr. Joshi did a number of tests to try
  15      MS. duPONT:                                     15 and locate any underlying pathologic explanation
  16         Object to form.                              16 or anatomic explanation for Mr. Boudreaux's bleed.
  17      THE WITNESS:                                    17 True?
  18         I think the point I'm trying to make         18    A. Mr. Joshi, the gastroenterologist --
  19      is I think the word "cause," although used      19    Q. I think it's Doctor.
  20      in the product label, is really too strong      20    A. I'm sorry. Strike it. Mr. -- Mr. --
  21      based on really what happens                    21 Dr. Joshi, the gastroenterologist, did an EGD. He
  22      physiologically and pharmacokinetically.        22 did I believe a colonoscopy and a capsule
  23         There are drugs that can specifically        23 endoscopy to try to determine the source of
  24      cause damage to mucosa that I would use         24 Mr. Boudreaux's bleeding. Yes.
  25      the word "cause" bleeding. Such is not          25    Q. And is it fair to say he did not determine

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   1 an anatomic source of the bleeding?                  BY
                                                           1   MR.  GOZA:
   2    A. Dr. Joshi notes in his notes that the        2    Q. Sure.
   3 patient had what looked like Barrett's esophagus,  3       And -- and maybe we can -- and we'll dig
   4 which can have a propensity to bleed. However, at 4 it out. But maybe we can short-circuit this in
   5 the time that Dr. Joshi did the EGD, there was no  5 some way.
   6 bleeding source noted, that being that the         6       You're not saying that the bleed in this
   7 Barrett's esophagus was not bleeding at the time   7 case -- and can't say to a reasonable degree of
   8 he did his evaluation.                             8 medical certainty that Barrett's esophagus caused
   9    Q. In fact, despite the fact that you note      9 Mr. Boudreaux's GI bleed. True?
  10 that -- that somebody had diagnosed -- or you say 10    A. I think that in that -- when the -- when
  11 that somebody diagnosed Barrett's esophagus.      11 the EGD was performed there was no bleeding noted
  12 Dr. Joshi did not make that diagnosis, did he?    12 from the Barrett's esophagus. One cannot say with
  13       MS. duPONT:                                 13 certainty that that was the etiology of the bleed.
  14          Object to form.                          14    Q. Okay. And that's what I wanted to make
  15       THE WITNESS:                                15 sure of. When it comes time to talk in front of
  16          Let me look at my records.               16 the jury about what things can be said with
  17       MR. GOZA:                                   17 certainty, you're not going to tell the jury, I
  18          Sure.                                    18 can say to a reasonable degree of medical
  19       THE WITNESS:                                19 certainty that this patient, one, had Barrett's
  20          So according to my record on Page --     20 esophagus, or two, that Barrett's esophagus caused
  21       according to my report on Page 7, I -- I    21 his bleed.
  22       believe the exact words used by Dr. Joshi   22       MS. duPONT:
  23       were that the -- the EGD revealed           23         Object to form.
  24       esophageal mucosal changes suspicious for   24 BY MR. GOZA:
  25       short-term Barrett's esophagus present in   25    Q. True?
                                                Page 39                                                 Page 41
   1       the lower third of the esophagus. Those         1   A. So I -- I think that's a two-part
   2       are the exact words used.                     2 question. So --
   3 BY MR. GOZA:                                        3     Q. It is.
   4    Q. Right. And you read Dr. Joshi's               4     A. -- Barrett's esophagus -- if I can focus
   5 deposition. True?                                   5 on that for a minute. Barrett's esophagus -- a
   6    A. I did, a while ago.                           6 trained endoscopist can recognize Barrett's
   7    Q. Yeah. And it -- you recall that he            7 esophagus on endoscopy. However, the definitive
   8 testified -- when asked by defense counsel about 8 diagnosis, as you stated Dr. Joshi had said in his
   9 Barrett's esophagus, he said, I think it's only     9 deposition, requires biopsy. So a trained
  10 suspicious, I don't say he had Barrett's, I didn't 10 endoscopist is pretty -- is typically pretty sure
  11 do a biopsy, No way to say whether he had          11 that he has Barrett's esophagus. He confirm -- he
  12 Barrett's or not.                                  12 or she confirms that with a biopsy.
  13       Do you recall reading that?                  13     Q. Okay. We'll just look at Page 42 of
  14       MS. duPONT:                                  14 Dr. Joshi's testimony. And if you look, there was
  15          Object to form. And do you want to -- 15 a question about Barrett's syndrome and how long
  16       MR. GOZA:                                    16 it took to develop. And I think Dr. Joshi
  17          Sure.                                     17 answers, I object, and then there's an answer. Do
  18       MS. duPONT:                                  18 you see that?
  19          -- show him the transcript?               19       Then he says, "What is written in
  20       MR. GOZA:                                    20 endoscopy is -- I think that's only" suspicion.
  21          I'm happy to if he needs it. I'm just     21 "It doesn't say he had Barrett's." Do I -- "Did I
  22       asking right now if he remembers that.       22 do a biopsy? I did not. So there's no way to say
  23       THE WITNESS:                                 23 whether he has Barrett's or not. What I can tell
  24          I don't. And I'd be happy to look at      24 you is endoscopically when we see that kind of
  25       the transcript.                              25 mucosa coming up . . . it could be Barrett's, but


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   1 what we do is . . . either take a sample" as "in       1      trained endoscopist can often make that
   2 his case, someone who" had "just had a bleed, we       2      preliminary diagnosis. The definitive
   3 do not sample them. So all I could say is              3      diagnosis, however, as stated by me and
   4 suspicious. It's not confirmatory." It's not --        4      Dr. Joshi in his testimony, requires a
   5 "It's just endoscopic visually . . ." And "I"          5      biopsy, which was not done at that time.
   6 have not "given him a diagnosis."                      6 BY MR. GOZA:
   7        Is that true?                                   7    Q. So going back to my point, Dr. Joshi uses
   8        MS. duPONT:                                     8 the word "suspicious." He doesn't say I believe
   9           Object to form.                              9 it was, I thought it was Barrett's; correct?
  10        THE WITNESS:                                   10      MS. duPONT:
  11           That is what's written in Dr. Joshi's       11         Object to form.
  12        deposition. And I believe that summarizes      12      THE WITNESS:
  13        pretty similarly to what I stated having       13         Dr. Joshi uses the word "suspicious
  14        not had the deposition in front of me,         14      for."
  15        that Barrett's is -- is eventually a           15         But as an internist and someone who
  16        biopsy-proven diagnosis. However, a            16      takes care of patients, when an
  17        trained endoscopist like Dr. Joshi can         17      endoscopist says that, there's a
  18        look at a lesion endoscopically and say        18      reasonable likelihood that that patient in
  19        that this is likely Barrett's.                 19      fact does have Barrett's. Again, the
  20 BY MR. GOZA:                                          20      definitive diagnosis requires biopsy,
  21    Q. Okay. Since 2014, do you -- are you aware       21      which was not done at this --
  22 that Mr. Boudreaux has been diagnosed with            22 BY MR. GOZA:
  23 Barrett's by anyone?                                  23    Q. So going back to my question, is it your
  24    A. I did not see any mention of that in the        24 testimony, do you intend to go in front of the
  25 medical record.                                       25 jury and say that to a reasonable degree of

                                                 Page 43                                                   Page 45
   1    Q. Okay. And so what we do know is that            medical
                                                            1         certainty  you believe that Mr. Boudreaux
   2 Dr. Joshi says what he saw endoscopy was            2 had Barrett's syndrome on February 3rd of 2014?
   3 suspicious for it. True?                            3        MS. duPONT:
   4      MS. duPONT:                                    4           Objection. Asked and answered.
   5         Object to form.                             5        THE WITNESS:
   6      THE WITNESS:                                   6           What I would state is that, again, as
   7         Those were the words used by Dr. Joshi      7        I've said, a trained endoscopist can
   8      in his deposition, and those are the words     8        recognize a lesion that is likely to be
   9      that I used in my report.                      9        Barrett's. I didn't do the endoscopy.
  10 BY MR. GOZA:                                       10        And I'm not an endoscopist. So I wouldn't
  11    Q. So you said "suspicious" for it. True?       11        render an opinion other than to parrot
  12    A. That is correct.                             12        what was stated by Dr. Joshi.
  13    Q. So as we sit here today, you're -- can't     13 BY MR. GOZA:
  14 -- you can't say to a reasonable degree of medical 14     Q. Okay. And as I understand as well, that
  15 certainty, one, that Mr. Boudreaux had Barrett's   15 it is not your intent to offer an opinion to a
  16 syndrome on February 3rd of 2014; is that correct? 16 reasonable degree of medical certainty that
  17      MS. duPONT:                                   17 Barrett's syndrome caused Mr. Boudreaux's bleed on
  18         Object to form.                            18 -- that was diagnosed on February 3rd, 2014; is
  19      THE WITNESS:                                  19 that --
  20         I think that that's a statement that       20        MS. duPONT:
  21      needs to be qualified. I didn't do the        21           Object to form.
  22      endoscopy. And furthermore, I'm not an        22 BY MR. GOZA:
  23      endoscopist. But Dr. Joshi, who is a          23     Q. -- correct?
  24      trained endoscopist, saw a lesion that he     24     A. It's my intent to testify that Barrett's
  25      said was suspicious for Barrett's. A          25 cannot be ruled out as a source of bleeding.

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   1 However, in that it was not bleeding at the time     1      I'm asking: During the time that he was
   2 of the -- at -- of the endoscopy, it's impossible   2       hospitalized and these labs that Mr. -- or
   3 to say that that was definitively a source of       3       Dr. Kahn is pointing to were taken,
   4 bleeding.                                           4       whether or not there was a diagnosis of
   5    Q. Okay. So the answer to my question I          5       B12 deficiency given by the treating
   6 believe is yes, but let me make sure. Because --    6       physicians?
   7 I -- I understand what you say about cannot be      7       THE WITNESS:
   8 ruled out.                                          8          There was a diagnosis of B12
   9        But it's not your intent to come in and      9       deficiency made on February 4th by virtue
  10 offer an opinion to a reasonable degree of medical 10       of the fact that his serum B12 level was
  11 certainty that Barrett's syndrome was the cause of 11       less than 146. That is how we diagnose
  12 Mr. Boudreaux's bleeding. Am I correct?            12       B12 deficiency.
  13        MS. duPONT:                                 13 BY MR. GOZA:
  14           Object to form. Asked and answered.      14    Q. Okay. Now, when you say his anemia could
  15        THE WITNESS:                                15 have been due to either iron deficiency anemia or
  16           I'm not go -- I -- I will not state      16 inflammatory anemia, have you made some
  17        that Barrett's esophagus was definitively   17 determination that you intend to offer an opinion
  18        the source of Mr. Boudreaux's bleeding.     18 at trial about as to which of these two things was
  19 BY MR. GOZA:                                       19 causing Mr. Boudreaux's -- what -- what was the
  20    Q. You talk about -- in -- in reviewing the     20 test that you said? I apologize. You just said
  21 records, you said that Mr. Boudreaux had a slight 21 it, the -- the test.
  22 anemia that could be related to iron deficiency    22    A. Serum B12?
  23 anemia or inflammatory anemia.                     23    Q. Serum B12.
  24        Did I read that correctly?                  24    A. Yeah.
  25        MS. duPONT:                                 25    Q. That caused Mr. Boudreaux's serum B12, was
                                              Page 47                                                Page 49
   1        Where are you reading from?                   1 it to be high or low?
   2      MR. GOZA:                                       2       MS. duPONT:
   3        Page 9.                                       3          Object to form.
   4      THE WITNESS:                                    4       THE WITNESS:
   5        So in my report on Page 9 I state a           5          So neither iron deficiency nor
   6      couple things. Firstly and interestingly,       6       inflammatory anemia contribute to a low
   7      Mr. Boudreaux had a B12 deficiency that         7       B12 level. That's a separate diagnosis.
   8      was previously not diagnosed but                8 BY MR. GOZA:
   9      documented by lab -- by laboratory studies      9     Q. Okay. Is it your testimony -- maybe I
  10      done during admission for his GI bleed.        10 just need to make sure I understand. Maybe you
  11      And then I go on to say his anemia could       11 were just noting the B12 deficiency.
  12      have been due to either iron deficiency        12       Is it your testimony that the B12
  13      and/or inflammatory anemia.                    13 deficiency played some role in Mr. Boudreaux's
  14 BY MR. GOZA:                                        14 bleed?
  15   Q. Yeah. I think that's what I asked.             15     A. It is not my --
  16      So with respect to the B12 deficiency, did     16       MS. duPONT:
  17 anybody during Mr. Boudreaux's hospitalization      17          Object to form.
  18 give Mr. Boudreaux a diagnosis of B12 deficiency?   18       THE WITNESS:
  19   A. In looking at the records --                   19          -- testimony that the B12 deficiency
  20      MS. duPONT:                                    20       played a role in his bleed.
  21        In what hospital diagnosis? I'm              21          It's my testimony that Mr. Boudreaux
  22      sorry.                                         22       has B12 deficiency that was not previously
  23      MR. GOZA:                                      23       diagnosed, and that could be the reason
  24        Well, he was hospitalized on                 24       for an anemia that he had even prior to
  25      February 3rd and February 4th of 2014. So      25       his GI bleed.

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   1 BY MR. GOZA:                                              1       deciliter. Mr. Boudreaux was reasonably
   2     Q. And B12 deficiency, in terms of causing            2       consistently found to have hemoglobins
   3 anemia, what -- what is the mechanism by which            3       less than 14.
   4 that occurs?                                              4 BY MR. GOZA:
   5     A. So B12 is cyanocobalamin. It's a                   5    Q. Somewhere in the 13s?
   6 cofactor. And B12 is necessary for DNA synthesis.         6    A. Correct.
   7 It's necessary for several reactions.                     7       Women have lower hemoglobins, but that's
   8 Particularly cells of high turnover such as the           8 not relevant to this --
   9 cells in the bone marrow require B12 for normal           9    Q. And that's what I meant when I was talking
  10 maturation and development. Patients who are B12         10 about your description of it as a mild anemia.
  11 deficient can have a variety of symptoms, one of         11 True?
  12 which is anemia. And they develop an anemia. And         12    A. Thank you. I just wanted to focus.
  13 they can actually develop low white counts and           13    Q. No. And I -- I appreciate that.
  14 platelets as well because the absence of B12             14       So just so I understand, when we're
  15 inhibits the ability of the marrow to function           15 talking about that mild anemia that preexisted
  16 normally.                                                16 Mr. Boudreaux's GI bleed, I think you've indicated
  17     Q. Okay. So as I understand it, the anemia           17 that there are potentially three causes of that in
  18 that you noted -- I believe you described it as          18 your mind; is that right?
  19 mild anemia?                                             19       MS. duPONT:
  20       MS. duPONT:                                        20          Object to form.
  21          Object to form.                                 21       THE WITNESS:
  22       THE WITNESS:                                       22          I think that those would be the -- I
  23          When are we talking about?                      23       think that there are three potential
  24 BY MR. GOZA:                                             24       causes for Mr. Boudreaux's preexisting
  25     Q. February 2014. And we can go back. I              25       mild anemia, yes, B12 deficiency, iron
                                                  Page 51                                                 Page 53
   1 think you say it earlier in your report.                 deficiency,
                                                               1           inflammatory   anemia,   or quite
   2    A. So when Mr. Boudreaux presents to the      2       frankly some combination of the -- the
   3 hospital with a hemoglobin of 6.7, I would not   3       above. The only one that we know he has
   4 qualify --                                       4       for sure -- because the only lab test that
   5    Q. Oh.                                        5       we have -- is low B12. So we know he has
   6    A. -- that as a -- as a mild anemia.          6       that. Whether or not he has a coexistent
   7    Q. Good -- yeah. Good point, and I            7       iron deficiency and/or inflammatory anemia
   8 appreciate you bringing that.                    8       is less clear.
   9      That is a fairly significant anemia.        9 BY MR. GOZA:
  10 True?                                           10    Q. Just in terms of the way -- and I -- I
  11      MS. duPONT:                                11 want to communicate using your words. We have --
  12         Object to form.                         12 you -- you've indicated that there are three
  13      THE WITNESS:                               13 possibilities or even a combination of the three
  14         A hemoglobin of 6.7 for a man is a      14 that may be responsible for the mild anemia that
  15      significant anemia.                        15 he had before his GI bleed.
  16 BY MR. GOZA:                                    16       Have I stated that correctly?
  17    Q. With respect to the potential causes --   17    A. You have stated that correctly.
  18 and I think you had mentioned he had had anemia 18       If I could just clarify one point.
  19 before his bleed -- his GI bleed. True?         19 Patients with B12 deficiency have large red blood
  20      MS. duPONT:                                20 cells, and the reason for that is as cells in the
  21         Object to form.                         21 bone marrow mature they progressively get smaller.
  22      THE WITNESS:                               22 If there's a problem with DNA synthesis, the cells
  23         Before Mr. Boudreaux's bleed,           23 don't normally get small like they should. So a
  24      Mr. Boudreaux had a mild anemia. Men have 24 patient with B12 deficiency, pure B12 deficiency,
  25      a normal hemoglobin of 14 to 16 grams per  25 I would expect the MCV, the mean cellular volume,


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   1 to be elevated.                                     1     something else going on. And that's
   2       The fact that Mr. Boudreaux's MCV was not    2      either one of iron deficiency,
   3 elevated and the fact that his RDW, an indication  3      inflammatory anemia, or a combination.
   4 of abnormalities in red cell size, was elevated,   4      And that part is what's impossible --
   5 suggest that -- suggests that Mr. Boudreaux has    5 BY MR. GOZA:
   6 more than just B12 deficiency. Those other         6    Q. And --
   7 etiologies include iron deficiency, inflammatory   7    A. -- to determine.
   8 anemia, or a combination of the two. And without   8    Q. And I think I understood that part of your
   9 iron studies prior to his bleed, it's really       9 testimony. I just want to make sure I'm clear on
  10 impossible to discern which of the other two he   10 one thing.
  11 likely had in conjunction with B12 deficiency.    11      With respect to causing the anemia --
  12     Q. Okay. So I think you probably answered my  12    A. Correct.
  13 question just now by indicating -- at this point  13    Q. -- is it your -- have you discerned
  14 it's impossible to determine exactly what was the 14 whether it is the B12 that's causing the anemia or
  15 cause of his mild anemia or whether it was a      15 the B12 in combination with other -- some -- one
  16 combination of several conditions that were the   16 of these other conditions that -- that he might
  17 cause?                                            17 have that's causing it?
  18       MS. duPONT:                                 18    A. So --
  19          Object to form. Misstates his            19      MS. duPONT:
  20       prior --                                    20         Object to the form.
  21       THE WITNESS:                                21      THE WITNESS:
  22          I think it's --                          22         So as an etiology of his anemia, he
  23       MS. duPONT:                                 23      definitely has B12 deficiency as a cause
  24          -- testimony.                            24      of his anemia. That's not in question.
  25       THE WITNESS:                                25      But he doesn't have B12 deficiency alone
                                              Page 55                                               Page 57
   1         -- very -- I -- I -- no. I think that       1      because his MCV isn't elevated. As a
   2      Mr. Boudreaux definitively had B12             2      cause of anemia, again, he has either iron
   3      deficiency. That's --                          3      deficiency, inflammatory anemia, or a
   4      MR. GOZA:                                      4      combination in addition to B12 deficiency.
   5         I understand.                               5 BY MR. GOZA:
   6      THE WITNESS:                                   6    Q. And at trial, are you going to try to
   7         -- not in question.                         7 separate out which of those three that he has in
   8         I think that because his MCV is not         8 addition to B12 deficiency --
   9      elevated, it's -- giving him the diagnosis     9      MS. duPONT:
  10      of B12 deficiency alone is problematic.       10         Object to form.
  11      So I think he has B12 deficiency, then he     11 BY MR. GOZA:
  12      has either one of or both of iron             12    Q. -- other than what you just said to me?
  13      deficiency and inflammatory anemia. And       13    A. It's not possible to determine whether or
  14      whether he just has inflammatory anemia in    14 not Mr. Boudreaux had, in addition to B12
  15      addition to B12 deficiency or just has        15 deficiency, iron deficiency, or -- and/or
  16      iron deficiency in addition to B12            16 inflammatory anemia without iron studies and a
  17      deficiency or all three is impossible to      17 serum ferritin, which are not provided prior to
  18      determine. There's no question that he        18 his admission to the hospital for his GI bleed.
  19      has B12 deficiency.                           19    Q. And to your knowledge, at least with the
  20      MR. GOZA:                                     20 records you've been provided up to November of
  21         Got it.                                    21 2016, you haven't seen anyone do those studies?
  22      THE WITNESS:                                  22      MS. duPONT:
  23         And there's no question that -- the        23         Object to form. Misstates the record.
  24      fact that he doesn't have an elevated MCV     24      MR. GOZA:
  25      and has an elevated RDW, that there's         25         Well, if I do, I want to know. That's

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   1       why I'm asking.                                statement.
                                                           1
   2 BY MR. GOZA:                                       2    Q. Okay. And on February 3rd, when he
   3    Q. Is there -- is there -- if I've misstated    3 reported to Dr. Wong's office, he reported the --
   4 the record, I want to be clear.                    4 the black stools to be over the last three days.
   5       Is there some study that's been done that    5 Is that not true?
   6 -- that clarifies this issue for you that I don't  6       MS. duPONT:
   7 know about?                                        7          Object to form.
   8       MS. duPONT:                                  8 BY MR. GOZA:
   9          I -- I'm objecting to the fact that it    9    Q. I'm just looking at your report. Go down
  10       was never done, the -- the --               10 -- if you look at Page 6, Paragraph 4.
  11       MR. GOZA:                                   11    A. So on Paragraph 4 on Page 6 -- I'd have to
  12          Well, no. No. I know --                  12 look at the original hospital reports. Because
  13       MS. duPONT:                                 13 what I say is that "Mr. Boudreaux presented to
  14          -- ferritin.                             14 Dr. Wong's office with reports that he was very
  15       MR. GOZA:                                   15 weak for 3 days with very black stools and
  16          -- it was done back in --                16 constipation for 3-4 days." And I don't know if
  17       MS. duPONT:                                 17 the black stools go with the constipation for
  18          Okay.                                    18 three to four days. And I -- I don't know if --
  19       MR. GOZA:                                   19 if the black stools predated the three or
  20          -- the hospital.                         20 four days.
  21 BY MR. GOZA:                                      21       But certainly he had symptoms of anemia,
  22    Q. I'm saying since the hospitalization --     22 according to the medical record when he presented
  23 I'm simply asking: You have seen -- you've seen 23 to the hospital with his GI bleed.
  24 some other study -- iron study that's been done   24    Q. I was just -- in terms of at least the
  25 that would clarify this issue in any way for you? 25 exact timing of some of those, you'd at least

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   1    A. So to diagnose whether or not                   1 agree there's some inconsistency in the records?
   2 Mr. Boudreaux in addition to B12 deficiency had       2 And I'm not talking --
   3 iron deficiency, inflammatory anemia, or both         3      MS. duPONT:
   4 would require a serum iron, total iron binding        4         Object to the form.
   5 capacity, and ferritin. And to the best of my         5 BY MR. GOZA:
   6 ability to review the records, I could not find       6    Q. -- about your report, but the medical
   7 those numbers recorded prior to February of 2014.     7 records. True?
   8    Q. Going to Page 9 of your report,                 8      MS. duPONT:
   9 Paragraph 3.                                          9         Object to form.
  10    A. I see where you're -- yes.                     10      THE WITNESS:
  11    Q. Okay. And -- and it says, "Mr. Boudreaux       11         I -- I agree that there's some
  12 presented with symptoms of a GI bleed on             12      inconsistency as to when he actually had
  13 February" 3rd, "2014, but the symptoms of that       13      his black tarry stools. I think the
  14 bleed had been going on for at least a week prior    14      record's pretty consistent with about a
  15 to his presentation."                                15      two-week history or so of slow onset
  16       Which symptoms is it that you believe had      16      weakness and dizziness.
  17 been going on a week?                                17 BY MR. GOZA:
  18    A. Let me refer back to my expert report. So      18    Q. Be -- he had been in to see Dr. Wong on
  19 specifically on Page 7, "Mr. Boudreaux reported      19 January 24th. True?
  20 that he had felt well until 2 weeks following his    20    A. On January 24th, according to my notes, he
  21 discharge . . . when he began to experience          21 presented to Dr. Wong for a follow-up visit.
  22 slow-onset weakness, dizziness over the following    22    Q. Okay. So that was in late -- nine days
  23 week with 2 episodes of black tarry stool and only   23 before?
  24 2 bowel movements that week." It's based on that     24    A. Correct.
  25 report by Mr. Boudreaux that I make that             25    Q. And there's no indication in Dr. Wong's

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   1 letter or notes of that date that he was          1       be a bit more specific.
   2 complaining of anything related to dizziness,     2 BY MR. GOZA:
   3 weakness, difficulty with stools?                 3    Q. Sure. Sure. Let -- this morning, before
   4    A. I do not see anything in my notes. And to   4 I ate breakfast I felt weak. I -- I don't believe
   5 the best of my recollection of the original       5 I was having any GI bleed. I wouldn't go report
   6 record, I don't -- I don't see any evidence that  6 it. But if I had it throughout a couple of days,
   7 he had reported those symptoms. No.               7 it might affect me or I may think of it
   8    Q. So going back to my original question,      8 differently.
   9 would you agree there are at least -- there is    9       So my point is: When you're talking about
  10 some inconsistency in the records as to when     10 some of these symptoms, they might not set off
  11 exactly Mr. Boudreaux's symptoms of anemia       11 ringing bells in a -- in a patient immediately.
  12 started?                                         12       MS. duPONT:
  13       MS. duPONT:                                13          Object to --
  14          Object to form.                         14 BY MR. GOZA:
  15       THE WITNESS:                               15    Q. Is that fair?
  16          I think that clearly the symptoms       16       MS. duPONT:
  17       began a period of time before              17          Object to form.
  18       presentation. The exact timing is          18       THE WITNESS:
  19       difficult, as it typically is with         19          So I think for you in particular we
  20       patients. They don't -- they -- they       20       could do a stool guaiac, but I don't think
  21       can't often point to a specific time that  21       that's what you're asking us to do.
  22       they start to feel weak. It's a -- it's    22       MR. GOZA:
  23       gradual and takes some time. So with       23          I'm not asking to do a rectal exam
  24       these sorts of patients, it's not atypical 24       either. So none of those things are on
  25       that they can't directly pinpoint when     25       the table today.
                                             Page 63                                              Page 65
   1       symptoms started.                           1      THE WITNESS:
   2 BY MR. GOZA:                                        2       Just wanted to make sure.
   3    Q. And I think that -- that -- that's my         3       I think anemia can have a rather
   4 point.                                              4    insidious onset, and often it's difficult
   5       The -- this isn't necessarily surprising      5    to pinpoint the exact onset of symptoms.
   6 to you, to see that kind of inconsistency. True?    6    MR. GOZA:
   7       MS. duPONT:                                   7       Thank you.
   8          Object to form.                            8    MS. duPONT:
   9       THE WITNESS:                                  9       We're almost about at an hour. So
  10          It's not surprising that when a           10    whenever you want to take a break or if
  11       patient with a GI bleed is asked on          11    you want to finish up . . .
  12       separate occasions by different              12    MR. GOZA:
  13       physicians, that they can't precisely        13       I'm finished up that part, so we can
  14       pinput -- pinpoint the exact onset of        14    take a break right now.
  15       symptoms.                                    15    MS. duPONT:
  16 BY MR. GOZA:                                       16       Okay.
  17    Q. And from the -- the patient's standpoint,    17    THE VIDEOGRAPHER:
  18 oftentimes there can be -- it -- it -- it's        18       We're now off the record at 9:33.
  19 accumulation of -- of symptoms that give rise to a 19    (Brief recess was taken.)
  20 concern about what's going on with them. Is that 20      THE VIDEOGRAPHER:
  21 fair to say?                                       21       This is the beginning of Tape 2.
  22       MS. duPONT:                                  22    We're now back on the record. The time is
  23          Object to form.                           23    9:49.
  24       THE WITNESS:                                 24 BY MR. GOZA:
  25          I -- I think you're going to have to      25  Q. Doctor, we had a short break.

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   1       Are you ready to continue?                    periodically attend on the internal medicine
                                                         1
   2    A. I am.                                       2 service. And I attend a teaching conference for
   3    Q. Okay. A few questions.                      3 internal medicine residents several times a month.
   4       It looks like that you had the opportunity  4    Q. So going back -- I -- I -- I'm taking all
   5 to read Dr. Fail's deposition in the course of    5 of these qualifications. I'm just trying to get
   6 your preparation today. Is that true?             6 an estimate of how many patients you would see as
   7    A. Yes. Although if you're going to ask me     7 part of your general practice versus your
   8 specifics, I'll need to see the specific          8 subspecialty of hematology/oncology.
   9 reference.                                        9    A. I'd say about 80 percent of my patients
  10    Q. Sure. I was going to read you a specific   10 are subspecialty, and 20 percent would be general
  11 reference and just ask you if you agreed or      11 medicine.
  12 disagreed or something.                          12    Q. And as I understand it, as part of that
  13       First of all, do you know Dr. Fail?        13 20 percent of general medicine patients, some of
  14    A. I don't.                                   14 those might be patients that have atrial
  15    Q. Okay. Do you know -- I assume from         15 fibrillation and who had been placed on an
  16 reading his deposition you know him to be a      16 anticoagulant by either their primary care
  17 cardiologist?                                    17 physician or their cardiologist?
  18    A. That's correct.                            18       MS. duPONT:
  19    Q. With respect to prescribing Xarelto, as I  19          Object to form.
  20 understand it, you generally would not be the    20       THE WITNESS:
  21 primary person prescribing Xarelto for a patient 21          So the patients that I see with atrial
  22 for atrial fibrillation; is that correct?        22       fibrillation tend to be placed on
  23       MS. duPONT:                                23       rivaroxaban by their primary care provider
  24           Object to form.                        24       or cardiologist.
  25       THE WITNESS:                               25 BY MR. GOZA:
                                               Page 67                                               Page 69
   1           So typically patients with atrial         1    Q. Generally speaking, you would not be the
   2        fibrillation present either to their         2 physician who would prescribe an anticoagulant for
   3        primary care provider or their               3 a patient who had been newly diagnosed with atrial
   4        cardiologist, and they're going to be the    4 fibrillation?
   5        physicians that initiate anticoagulation     5       MS. duPONT:
   6        in those patients. But in that I still       6          Object to form.
   7        practice internal medicine as well as        7       THE WITNESS:
   8        hematology, I see patients who are on        8          Generally patients with new onset
   9        these drugs with atrial fibrillation.        9       atrial fibrillation don't present to a
  10 BY MR. GOZA:                                       10       hematologist, so they would be prescribed
  11     Q. Got it. I -- I -- and I think -- I          11       their anticoagulant initially by a
  12 just -- I want to make sure I -- I ask my question 12       cardiologist or a primary care provider.
  13 fairly specifically.                               13       MS. duPONT:
  14        I understand that you maintain -- how --    14          Excuse me.
  15 how many patients do you see in your general       15 BY MR. GOZA:
  16 internal medicine practice? What percentage of     16    Q. Let me ask this question -- or strike
  17 your patient population is that?                   17 that.
  18     A. So I'm going to need to qualify that a      18       This question was asked of -- of Dr. Fail.
  19 little bit. I have my own clinic, which is         19 It said, If you looked at the whole host of
  20 predominantly nonmalignant hematology patients. 20 anticoagulants, many of them work in different
  21 I'm a -- I -- I do rounds on the consultation      21 ways; correct?
  22 service, which are predominantly, this year,       22       And he says, Correct.
  23 hematology, both malignant and nonmalignant        23       That's a given in medicine. True? We can
  24 hematology, as well as oncology. But I also        24 all agree with that?
  25 attend periodically -- not this year, but          25    A. I think that there are --

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   1      MS. duPONT:                                     1      anticoagulate somebody, we're weighing the
   2         Objection.                                  2       relative risk of bleeding versus the
   3      THE WITNESS:                                   3       relative risk, in the case of atrial
   4         -- different drugs that work in             4       fibrillation, of stroke prevention. And
   5      different ways.                                5       this is a balance and a clinical decision
   6 BY MR. GOZA:                                        6       that we make for each patient.
   7   Q. And I -- the question was asked: "And"         7 BY MR. GOZA:
   8 have you seen "patients that have had a bleed on 8       Q. Got it. And I -- and I understand that --
   9 one anticoagulant be placed on another              9 that, balancing the -- the risk-benefit analysis.
  10 anticoagulant and be able to tolerate that, true?" 10       What I -- what I'm simply saying here,
  11      And he said, "That is true."                  11 though,   is: Simply because you had a bleed on one
  12      Has that been consistent with your            12 anticoagulant does not mean that you are going to
  13 experience as well?                                13 bleed on every anticoagulant. Is that true?
  14      MS. duPONT:                                   14       MS. duPONT:
  15         Object to form. Are you going to read      15          Objection. Asked and answered.
  16      a bunch of Q-and-A from that or . . .         16       THE WITNESS:
  17      MR. GOZA:                                     17          I think that without the empirical
  18         One more.                                  18       trial of putting somebody on another
  19      THE WITNESS:                                  19       anticoagulant and seeing if they bleed --
  20         So I think that there are patients who     20       I think certainly bleeding can vary
  21      develop a complication from one drug and 21            between anticoagulants.
  22      can be placed on another drug in class and 22 BY MR. GOZA:
  23      not have that complication. These are         23    Q. And in fact, when you look -- and I -- and
  24      clinical judgments and very                   24 I was in your -- your preparation list, not so
  25      patient-specific. So I think rather than      25 much for this deposition. But for your general

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   1      saying that I would do that all the time       1 deposition, I think you read the labels for
   2      or never, these are clinical judgments         2 Xarelto; is that correct?
   3      that are patient-specific.                     3    A. I have read the label for rivaroxaban.
   4 BY MR. GOZA:                                        4 Yes.
   5    Q. Right. My only point was -- and I think I     5    Q. Okay. And I -- I refer to it as Xarelto.
   6 ended the question with him, is "simply because     6 But that's the -- the trade name. True?
   7 you have a bleed on one anticoagulant doesn't mean 7     A. I -- I have -- have historically
   8 you're going to bleed on every anticoagulant,       8 throughout my training always used generic --
   9 true?"                                              9 generic names. It's just something that I do
  10      And he says, "That seems to be the case,      10 and --
  11 yes sir."                                          11    Q. And -- and I --
  12      MS. duPONT:                                   12    A. -- and encourage my trainees to do.
  13         Object to form.                            13    Q. Sure. I'm fine with that. I just want to
  14 BY MR. GOZA:                                       14 make clear for the record --
  15    Q. Do you agree with that?                      15    A. Rivaroxaban and Xarelto are, for this
  16      MS. duPONT:                                   16 deposition, the same.
  17         Object to form.                            17    Q. That's -- that was the point I wanted to
  18      THE WITNESS:                                  18 clarify. Thank you for being a step ahead of me.
  19         Because bleeding is -- is sporadic, I      19       Anyway, you've had an opportunity to see
  20      think -- I -- I think that there are          20 the labels. Is that true?
  21      patients who bleed on an anticoagulant,       21    A. I have.
  22      and then after a period of time, when the     22    Q. With respect to the 2015 label, there is a
  23      underlying lesion is allowed to heal, they    23 table in the label that relates to bleeding events
  24      can sometimes be placed on another            24 on ROCKET. And I can --
  25      anticoagulant. Again, whenever we             25       MR. GOZA:

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   1       You have it?                                    1 relative risk of 1.0. Relative risks are always
   2    MS. KINGSDORF:                                     2 expressed as a range, typically the 95 percent
   3       (Tenders document.)                             3 confidence interval as expressed in this chart.
   4    MR. GOZA:                                          4 So the 95 percent confidence interval, meaning
   5       I don't have enough for everybody.              5 that the relative risk of bleeding on Xarelto
   6    Sorry.                                             6 versus warfarin ranges from 1.3 to 1.99. And with
   7 BY MR. GOZA:                                          7 95 percent confidence, one can say it would be in
   8  Q. If you look at Page 4.                            8 that range.
   9    MS. duPONT:                                        9    Q. Okay. So the -- first of all, let --
  10       And you're marking this as Exhibit 4,          10 let's make sure just so I understand -- and I -- I
  11    Kirk?                                             11 will grant you that -- that I'm not the -- have
  12    MR. GOZA:                                         12 the knowledge of epidemiology that you do.
  13       Yes, ma'am.                                    13       But as I understand it, there is a term
  14    (Exhibit No. 4 was marked for                     14 called "statistically significant." True?
  15    identification and attached hereto.)              15    A. There is a term called "statistically
  16    (Mr. Goza and Ms. Kingsdorf confer outside        16 significant."
  17    the hearing of the court reporter.)               17    Q. In order for --
  18    MR. GOZA:                                         18    A. Right.
  19       Oh. Wait a minute. I have two six --           19    Q. -- a number to be statistically
  20    okay. I apologize. Hold on a minute.              20 significant, it needed to have a 1 in the
  21    Let me look at something real quick. I            21 parameter of the ranges?
  22    think I got -- I -- I have the -- a               22       MS. duPONT:
  23    different one in hand. Here we go.                23         Object to form.
  24 BY MR. GOZA:                                         24       MS. MOORE:
  25  Q. If you look at Page 11 on Exhibit 4.             25         Objection.
                                               Page 75                                                 Page 77
   1     A. Okay.                                          1      THE WITNESS:
   2     Q. It has a listing at Table 1 of bleeding        2         So I don't --
   3 events in ROCKET, and that was the atrial             3      MR. HOGUE:
   4 fibrillation trial, the clinical trial related to     4         Objection.
   5 rivaroxaban. True?                                    5      THE WITNESS:
   6     A. Table 1 is labeled "Bleeding Events in         6         I -- I disagree with that statement.
   7 ROCKET AF - On Treatment Plus 2 Days."                7      There are different ways to look at
   8     Q. Okay. So here, if we look at                   8      statistical significance depending on --
   9 gastrointestinal bleeds, it shows that there was a    9      on -- on what you're trying to do. We
  10 1.61 or essentially a 61 percent increase in         10      often use p-values. We sometimes use
  11 bleeds on Xarelto over warfarin; is that correct?    11      chi-squares.
  12     A. That's actually not correct.                  12         For a confidence interval like this,
  13       What it shows is that the 95 percent           13      what you want for something to be
  14 confidel -- confidence interval for the relative     14      significant is you want the range to not
  15 risk of gastrointestinal bleeding comparing          15      include 1. If the range includes 1, that
  16 Xarelto versus warfarin has a mean of 1.61 with a    16      means it's not statistically significant.
  17 range of 1.3 to 1.99.                                17      That means within the 95 percent
  18     Q. Okay. So what does that in effect mean?       18      confidence interval there is a likelihood
  19 Tell me what it --                                   19      that the two are in fact the same.
  20     A. When we talk about relative risk, what we     20 BY MR. GOZA:
  21 are looking at is a relative risk of an event        21   Q. So is it your testimony with respect to GI
  22 happening in this case on Xarelto versus rivar --    22 bleeding that on this chart -- tell me what's the
  23 versus warfarin. If in fact the bleeding risk --     23 one -- or strike that.
  24 if in fact the relative risk is the same, we're      24      Let me ask it this way: Does this
  25 going to have a confident -- we're going to have a   25 indicate that there is a range of increased risk


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   1 from 1.3 to 1.99 of Xarelto versus warfarin?         bleeding in patients treated with rivaroxaban,
                                                          1
   2    A. So ROCKET AF concluded that in patients      2 according to ROCKET, was 1.61.
   3 treated with rivaroxaban there was an increased    3   Q. And does that mean that with respect to
   4 risk of gastrointestinal bleeding. However, there  4 patients on Xarelto or rivaroxaban they would have
   5 was a markedly decreased risk of fatal bleeding    5 an increased risk of the mean being 60 percent
   6 and a markedly decreased risk of intracranial      6 more than a patient on warfarin to bleed?
   7 hemorrhage. And it was for that reason that the    7      MS. duPONT:
   8 drug is approved and used.                         8         Object to form.
   9       (Cellular phone interruption in the          9      THE WITNESS:
  10       deposition.)                                10         It's that 60 percent that I disagree
  11       MR. GOZA:                                   11      with. They did not have 60 percent more
  12         Sorry about that. We had a short --       12      bleeds. That's not a correct
  13       my phone went off.                          13      interpretation of the statistics. Let's
  14 BY MR. GOZA:                                      14      stick with relative risks.
  15    Q. Okay. So I -- but I just want to make       15         The relative risk is 1.61. And that
  16 sure that I understand.                           16      is -- the 95 percent confidence intervals
  17       With respect to gastrointestinal bleeding,  17      of that relative risk of 1.61 range
  18 am I correct that there's --                      18      between 1.3 and 1.99. That's the right
  19       MR. HOGUE:                                  19      way of looking --
  20         Do you need that?                         20      MR. GOZA:
  21 BY MR. GOZA:                                      21         Okay.
  22    Q. -- an increased risk shown in the ROCKET    22      THE WITNESS:
  23 study of gastrointestinal bleeds of Xarelto over  23         -- at this.
  24 warfarin?                                         24 BY MR. GOZA:
  25    A. The ROCKET AF trial showed that patients 25 Q. And "relative risk" means what?
                                              Page 79                                                Page 81
   1 treated with rivaroxaban had an increased risk of    1    A. "Relative risk" means risk in the treated
   2 gastrointestinal bleeding compared with warfarin.    2 population -- in this case, risk in the treated
   3    Q. And that risk -- that increased risk was       3 patient population treated with rivaroxaban over
   4 from -- somewhere between a range of 1.3 to 1.99;    4 the risk in the population treated with warfarin.
   5 correct?                                             5    Q. Got it.
   6    A. It --                                          6       And in terms of -- I think you said that
   7       MS. duPONT:                                    7 the study showed that there was an increased risk
   8          Object to form.                             8 of bleed -- gastrointestinal bleeding in Xarelto
   9       THE WITNESS:                                   9 versus warfarin. And if I were to ask you what is
  10          That risk of bleeding, the 95 percent      10 that increased relative risk, your answer would
  11       confidence intervals show a relative risk     11 be . . .
  12       of 1.3 to 1.99.                               12       MS. duPONT:
  13 BY MR. GOZA:                                        13          Object to form.
  14    Q. And the -- is -- the 1.61, does that          14       THE WITNESS:
  15 represent the average or mean?                      15          According to ROCKET AF, the relative
  16    A. Statistically it's -- it's really more        16       risk of increased gastrointestinal
  17 complicated than that. Well, 1.61 would be sort     17       bleeding was 1.6. But I would qualify
  18 of a mean score. But the 95 percent confidence      18       that to say some post-marketing studies
  19 intervals don't necessarily suggest that 1.61's     19       suggest that that relative risk is
  20 exactly in the middle. That's not the way we do     20       actually considerably lower.
  21 confidence intervals. But 1.61 would be the mean    21          ROCKET AF is a -- as in any other
  22 score, if you want to use that term.                22       clinical trial, patients are followed
  23    Q. And the mean score would mean what            23       extraordinarily closely. So patients in
  24 exactly?                                            24       the real world don't have, for example,
  25    A. That the relative risk of gastrointestinal    25       stool guaiacs looking for blood every day.

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   1      Patients in a clinical trial have periodic            1 consumption, their representations as to the drug.
   2      monitoring because of the importance in               2 True?
   3      getting the best data that you can as part            3       MS. duPONT:
   4      of a clinical trial. So some of these                 4         Object to form.
   5      risks are overestimated by a clinical                 5       THE WITNESS:
   6      trial. And I think sometimes you have to              6          The product label is made available to
   7      look at real-world data to make a clinical            7       the public for any FDA-approved drug.
   8      decision.                                             8 BY MR. GOZA:
   9      MR. GOZA:                                             9    Q. Okay. And with respect to the product
  10         Okay. And I'm going to move to strike             10 label, what it basically -- what you've indicated
  11      as nonresponsive.                                    11 here is the relative risk in a patient taking
  12 BY MR. GOZA:                                              12 Xarelto is 1.6 over the relative risk presented to
  13    Q. But let me go back and say: Just based              13 a patient of gastrointestinal bleeding with
  14 upon Exhibit 4 and the data provided in the ROCKET        14 warfarin.
  15 study and what's contained in the label that the          15       MS. duPONT:
  16 defendants in this case put out to physicians and         16         Object to form.
  17 to others and -- and to others using the -- the           17 BY MR. GOZA:
  18 medication, what do they say to them about the            18    Q. True?
  19 increased risk of gastrointestinal bleed of               19    A. According to ROCKET AF, again, a clinical
  20 Xarelto over warfarin based on the ROCKET study?          20 trial done very carefully, not a real-world study,
  21      MS. duPONT:                                          21 there was -- the relative risk of bleeding on
  22         Object to form.                                   22 rivaroxaban was 1.6 when compared to warfarin.
  23      THE WITNESS:                                         23    Q. And have you seen -- strike that.
  24         So there were a lot of qualifications             24       Do you know who Neena Abrahams is or
  25      in that question. I'm going to ask you to            25 Abraham?

                                                     Page 83                                                Page 85
   1       repeat it.                                           1    A. I do not.
   2 BY MR. GOZA:                                               2    Q. Have you read any of the studies that
   3   Q. Sure. Absolutely.                                     3 she's published on Xarelto or any of the other
   4       I -- I -- I'm simply saying if we look at            4 NOACs?
   5 the document which has been marked as Exhibit 4 --         5    A. You'll have to show me a --
   6 that's the official label of Xarelto. True?                6      MS. duPONT:
   7   A. That is correct.                                      7         Object to form.
   8   Q. And it's -- it's -- when we're talking                8      THE WITNESS:
   9 about label, that's what the company sends out to          9         -- particular study, and I can tell
  10 physicians to tell them things about the drug.            10      you if I've read it.
  11 True?                                                     11 BY MR. GOZA:
  12       MS. duPONT:                                         12    Q. If we go to Page 9 of your report, you say
  13          Object to form.                                  13 "There is no way to rule out that" -- "that the
  14       THE WITNESS:                                        14 same GI bleed Mr. Boudreaux experienced, would
  15          I don't believe that they're sent out.           15 have happened if he was taking any other
  16       If they're sent out, I don't get such               16 anticoagulant, including a vitamin K" inhibitor
  17       mailings. Maybe they are. But this is               17 "like warfarin or another NOAC."
  18       what is in the product label. This is               18      Did I read that correctly, first?
  19       what is in the Physicians' Desk Reference.          19    A. You read that correctly.
  20       This is what can be found online.                   20    Q. Okay. You would agree that there are
  21 BY MR. GOZA:                                              21 differences between the NOACs and their relative
  22   Q. Got it.                                              22 risk of bleeding as it pertains to
  23       So this is what the company -- maybe                23 gastrointestinal bleeding?
  24 you're correct in saying they don't send them out.        24      MS. duPONT:
  25 But in terms of the public, it's out there for            25         Object to form.

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   1       THE WITNESS:                                     1      or a case control study to try to balance
   2          I would actually disagree with that           2      those types of variables. One can do
   3       statement.                                       3      propensity analysis and other types of
   4          The only way to make such a statement         4      analysis. The problem is you're still
   5       is in a study that directly compares one         5      left with the fact that the populations
   6       DOAC with another. No such study has ever        6      aren't the same because you haven't made
   7       been done. And in fact, a recent review          7      an effort to make the populations the same
   8       in Blood that came out December 22nd             8      at the time that you initiate the study.
   9       looking at atrial fibrillation made the          9 BY MR. GOZA:
  10       exact same statement: There is no data          10   Q. So to your knowledge -- and you would
  11       available to compare one DOAC versus            11 agree that many -- or strike that.
  12       another. In the studies that -- that            12      Many prospective studies are sponsored by
  13       appear in the literature, they're compared      13 pharmaceutical companies?
  14       directly with warfarin.                         14      MS. duPONT:
  15 BY MR. GOZA:                                          15         Object to form.
  16    Q. So you've never seen a study comparing          16      THE WITNESS:
  17 head to head the different NOACs and their            17         Prospective studies are sponsored by a
  18 relative risk of bleeding?                            18      lot of groups. Because of the expense
  19    A. I have never seen --                            19      needed to undertake a prospective study,
  20       MS. duPONT:                                     20      they're frequently sponsored by
  21          Object to form.                              21      pharmaceutical companies. Sometimes
  22       THE WITNESS:                                    22      they're sponsored by national groups, if
  23          -- nor is there a prospective study          23      they have the money and the inclination to
  24       that directly compares one NOAC to another      24      do the study. And sometimes they're
  25       DOAC.                                           25      sponsored by the NIH, through grant
                                                 Page 87                                                     Page 89
   1 BY MR. GOZA:                                           1    funding.  There's multiple  mechanisms   to
   2    Q. Are there any retrospective studies?          2       do a prospective study. But I would not
   3    A. There are retrospective studies. The          3       disagree that pharmaceutical companies
   4 problem with the retrospective studies is the       4       sponsor prospective studies.
   5 populations of patients in the two groups are not 5 BY MR. GOZA:
   6 the same.                                           6    Q. Okay. And that's why I want to -- to get
   7      So the way that you do a study to              7 to.
   8 determine if one drug is better or worse than       8       So you would agree with me that
   9 another drug is a prospective -- randomized         9 pharmaceutical companies do sponsor prospective
  10 blinded prospective study.                         10 studies. True?
  11      The problem with retrospective studies        11    A. As do other groups, yes, I would agree.
  12 like you -- like you state is that the populations 12    Q. And you would agree, at least, to your
  13 of the two -- they're either typically             13 knowledge, no pharmaceutical company has sponsored
  14 case-control or cohort studies, and the            14 a prospective study evaluating the NOACs and their
  15 populations are not the same.                      15 relationship to each other in terms of potential
  16    Q. Are there efforts to balance the various     16 risk?
  17 baseline characteristics that exist amongst the    17       MS. duPONT:
  18 cohorts in the study?                              18          Object to form.
  19      MS. duPONT:                                   19       THE   WITNESS:
  20         Object to form. Are you going to show      20          I'm going to say that there are -- no
  21      him a particular study?                       21       one has sponsored a prospective study
  22      MR. GOZA:                                     22       comparing one DOAC to another to evaluate
  23         Not yet.                                   23       their prospective risk, no one.
  24      THE WITNESS:                                  24 BY MR. GOZA:
  25         So there are ways in either a cohort       25    Q. So we have no prospective studies upon

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   1 which to evaluate the relative safety factors with    me what -- what is the nature of -- of their
                                                                 1
   2 respect to the NOACs. True?                         2 publication. Maybe -- let me ask that -- that's
   3       MS. duPONT:                                   3 not a very well-worded question. I'll ask it
   4          Object to --                               4 again.
   5       MS. MOORE:                                    5       What I'm -- I'm getting at is here: Is
   6          Object.                                    6 this intended to be some peer-reviewed medical
   7       MS. duPONT:                                   7 article on a subject, or is it simply one
   8          -- form.                                   8 physician's, Here's -- here's what I do, and give
   9 BY MR. GOZA:                                        9 it thought?
  10    Q. No prospective study?                        10       MS. duPONT:
  11    A. I would agree, as would the authors of an    11          Object to form.
  12 article that appeared in Blood recently, that      12       THE WITNESS:
  13 there are no prospective studies that have --      13          Blood is a leading journal based on
  14 there are no prospective randomized studies        14       its impact factor in hematology not only
  15 comparing one DOAC to another with respect to      15       in the United States but in the world. As
  16 efficacy and safety.                               16       such, every article undergoes very
  17    Q. And you -- you mentioned this a couple       17       scrupulous peer review. The How-I-Treat,
  18 times now, this article that appeared in Blood     18       the difference is is that the author --
  19 recently. Is that something on your reliance       19       authors sometimes are selected by the
  20 list?                                              20       editors of Blood to address a particular
  21    A. Because the article came across my desk on 21         topic. But these go through an -- as
  22 Monday, it is not -- I believe the first author is 22       equal as -- as equally strenuous a
  23 Steinberg. I believe the title of the article was  23       peer-review process as any article in
  24 "How I treat Atrial Fibrillation" or something to  24       Blood, which again is really the journal
  25 that extent -- something along those lines.        25       with the highest impact factor in our
                                                      Page 91                                               Page 93
   1     Q. Is that something that you're relying on             1        field.
   2 in formulating or making any of your opinions here          2 BY MR. GOZA:
   3 today?                                                      3    Q. All right. And if one doesn't have
   4     A. That's something that substantiates an               4 randomized prospective studies, are there other
   5 opinion and actually a fact with what's available           5 second tier studies that one can look to to try
   6 in the medical literature. So I'm not relying on            6 and evaluate or get an assessment about what the
   7 it. It substantiates my statement.                          7 relative risk safety factors are with respect to
   8     Q. To the extent you're using it to                     8 the NOACs?
   9 substantiate your statement, did you happen to              9    A. I think it's only speculation at that
  10 bring a copy with it -- with you today?                    10 point in the absence of a head-to-head randomized
  11     A. I did not.                                          11 trial.
  12     Q. But your testimony is that the first -- is          12    Q. So if it's only speculation, is it your
  13 it -- the only author is Steinberg?                        13 position at this point that it is speculation to
  14     A. I believe that's the name of the author,            14 say that with respect to the NOACs they all have
  15 and I'm not sure. Those usually don't have very            15 the same relative risks as it pertains to
  16 many authors. He might have been the sole author.          16 gastrointestinal bleeds?
  17     Q. And when you say "those," what do you mean          17        MS. duPONT:
  18 by "those"?                                                18           Object to form.
  19     A. Thank you for allowing me to clarify.               19        THE WITNESS:
  20        The American Society of Hematology's                20           It's my contention that we don't know
  21 journal, Blood, has a section called "How I                21        whether one DOAC is better or worse with
  22 Treat." And the How-I-Treat articles don't                 22        respect to safety or efficacy when
  23 typically have many authors and sometimes have a           23        compared to another in the absence of a
  24 single author.                                             24        prospective head-to-head blinded trial.
  25     Q. And are these -- these How-I-Treat, tell            25 BY MR. GOZA:


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   1    Q. Okay. Meaning if there is a difference,            1there are currently three approved
   2 you can't tell us what that difference is amongst 2       anti-Factor Xa drugs. Those include
   3 the NOACs. Is that true?                           3      rivaroxaban, the drug under discussion;
   4      MS. duPONT:                                   4      apixaban; and edoxaban.
   5         Object to form.                            5 BY MR. GOZA:
   6      MS. MOORE:                                    6    Q. And with respect -- just so I'm clear --
   7         Object to form.                            7 and I think I understand what you're saying.
   8      MR. GOZA:                                     8      It's not your intent to tell the jury to a
   9         Let me rephrase the question because       9 reasonable degree of medical certainty that all of
  10      it was a little ambiguous anyway.            10 these DOACs have the same safety profile with
  11 BY MR. GOZA:                                      11 respect to gastrointestinal bleeds; correct?
  12    Q. If there is a difference in terms of        12      MS. duPONT:
  13 safety profiles with respect to gastrointestinal  13          Object to form.
  14 bleeding amongst the NOACs, you're unable to 14           THE WITNESS:
  15 identify what that is for us here today. True?    15          It's my intent to say that without a
  16      MS. duPONT:                                  16      clinical trial -- prospective blinded
  17         Object to form.                           17      clinical trial, it's not possible to make
  18      THE WITNESS:                                 18      an assessment of safety and efficacy
  19         It's my contention that in the absence    19      between these drugs without such a trial.
  20      of a head-to-head trial, one cannot affect 20 BY MR. GOZA:
  21      -- one cannot adequately assess the safety 21 Q. Okay. And so going back to my question,
  22      and efficacy of one DOAC compared to         22 which I want to make sure I'm very clear about,
  23      another.                                     23 because there has been no such trial, you're
  24 BY MR. GOZA:                                      24 unable to tell the jury that the relative risk for
  25    Q. In other words, there may be -- it -- it    25 gastrointestinal bleed is the same amongst all of

                                                    Page 95                                         Page 97
   1 may be that -- when you use the word "DOAC" --       the DOACs. True?
                                                              1
   2 "DOAC," let's just define that for the jury.             2 MS. duPONT:
   3 Direct oral anticoagulant. True?                   3          Object to form.
   4    A. That is correct. This field has gone         4       THE WITNESS:
   5 through some changes. And -- and -- and I think,   5          I'm not prepared to say they're the
   6 according to the International Society of          6       same. I'm not prepared to say they're
   7 Thrombosis and Haemostasis, the official term is   7       different. I'm not prepared to say that
   8 now "DOAC," direct oral anticoagulant. I will      8       one is better than another.
   9 sometimes slip and say "NOAC." But NOAC, DOAC are  9       MR. GOZA:
  10 the same thing, and I try to use the term "DOAC." 10          Move to strike after saying "not
  11    Q. Okay. And -- and just so the -- the         11       prepared to say they're" all "the same."
  12 jury's clear, there -- there are several DOACs    12 BY MR. GOZA:
  13 that are on the market, some of them having       13    Q. When you say that -- or strike that. If
  14 different operating or underlying ways in which   14 in fact there was data -- strike that.
  15 they -- they cause anticoagulation to occur.      15       Understanding what you're not prepared to
  16 True?                                             16 say, is it correct then that you're not in a
  17       MS. duPONT:                                 17 position to say that had Mr. Boudreaux been on
  18          Object to form.                          18 another anticoagulant he would have necessarily
  19       THE WITNESS:                                19 have bled from that anticoagulant?
  20          So among the direct oral                 20       MS. MOORE:
  21       anticoagulants there are generally two      21          Object.
  22       classes. There are those that inhibit       22       MS. duPONT:
  23       thrombin. There's really only one such      23          Object to form.
  24       drug now FDA approved and used in the       24       THE WITNESS:
  25       United States. That's dabigatran. And       25          I think that's an impossibility.

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   1       We're trying to make a prediction. I            any acute GI bleeds diagnosed while he's been
                                                                1
   2       don't know if Mr. Boudreaux would have        2 taking aspirin. True?
   3       bled if he were on no anticoagulant. I        3      MS. duPONT:
   4       don't know if he's going to bleed on          4         Object to form.
   5       Anticoagulant A, and I don't know if he's     5      THE WITNESS:
   6       going bleed on -- on Anticoagulant B          6         To the extent that I've -- to the
   7       unless he's in fact placed on those drugs.    7      extent that the records that I was
   8 BY MR. GOZA:                                        8      provided cover Mr. Boudreaux's course,
   9    Q. Okay. So going back to my -- my question,     9      there's no further mention of bleeding.
  10 is that you're not prepared and you're not going   10      But that does not mean that he's not going
  11 to tell the jury that Mr. Boudreaux, had he been   11      to bleed in the future.
  12 taking another anticoagulant, including one of the 12 BY MR. GOZA:
  13 other DOACs, would necessarily have bled on        13    Q. Didn't ask that question.
  14 February 3rd or February 4th, whenever his         14      I simply asked you whether there was any
  15 gastrointestinal bleed started, simply because he  15 records showing that he had bled in the last two,
  16 was taking another anticoagulant?                  16 almost three years since the -- the incident in
  17       MS. MOORE:                                   17 February of 2014?
  18          Object to --                              18    A. I have to check when -- the last record on
  19       MS. duPONT:                                  19 Mr. Boudreaux I reviewed.
  20          Object to form. Asked and answered.       20    Q. It says 11/14/2016 on your identification.
  21       THE WITNESS:                                 21    A. That's fine. So in the records up to
  22          So I think there were a couple of         22 11/14 there is no indication that Mr. Boudreaux
  23       negatives in there. But I think without      23 had a subsequent GI bleed.
  24       having a clinical situation where            24      MS. duPONT:
  25       Mr. Boudreaux or any other patient is on a   25         And can I just clarify? The medical
                                                     Page 99                                              Page 101
   1       drug -- is on an anticoagulant, we can't             1       records as of 11/14/16. I don't know if
   2       predict up front whether or not such a               2       the medical records go up through
   3       patient is going to bleed.                           3       November. It's what we had as of
   4 BY MR. GOZA:                                               4       11/14/2016, just to clarify for the
   5     Q. Right. But we know Mr. Boudreaux did                5       record.
   6 bleed; correct?                                            6 BY MR. GOZA:
   7     A. Mr. Boudreaux had a GI bleed. Correct.              7    Q. Do you know what those would have been,
   8     Q. And we know that -- strike that.                    8 where they -- where they ended?
   9       And we know he had been prescribed                   9    A. I do not know where they were -- ended.
  10 Xarelto. True?                                            10 I'd have to go back and look.
  11     A. Mr. Boudreaux had been on rivaroxaban. I           11    Q. Okay. Don't have that anywhere in your
  12 believe he was also taking aspirin.                       12 report?
  13     Q. Correct.                                           13    A. No. I do not.
  14       And Mr. Boudreaux -- and I think you note           14    Q. Okay. But at least as far as the medical
  15 it in your records -- continues to take aspirin.          15 records you've been provided -- and it's all we
  16 True?                                                     16 can ask you about here today, is what your
  17     A. Let me just check the record to confirm.           17 knowledge base is.
  18     Q. Sure. I -- I -- and I'll point it out to           18       As far as you know, Mr. Boudreaux was
  19 you. I think I -- I've got it here marked on              19 continued on aspirin after his bleed in
  20 your . . .                                                20 February of 2014. True?
  21     A. If I could -- yes. On Page 8, next to the          21    A. I believe it was briefly stopped during
  22 last paragraph, I state, "Subsequent to the               22 the hospitalization for his GI bleed, but then it
  23 GI bleed, Mr. Boudreaux was continued on aspirin."        23 was restarted. Correct.
  24     Q. Right. And as far as you know -- again,            24    Q. And he's not had any diagnosed GI bleed,
  25 we've covered this. But that -- that he's not had         25 as far as you know, from February of 2014 through


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   1 whenever you last were -- saw records of him?           1         ROCKET AF supports the contention that
   2    A. The records that I reviewed following             2      in that population studied in ROCKET, that
   3 February of 2014 do not indicate a subsequent           3      patients had a higher incidence -- had a
   4 GI bleed on Mr. Boudreaux's part.                       4      relative risk of GI bleeding of 1.6 when
   5    Q. And Mr. Boudreaux had taken aspirin before        5      compared to warfarin.
   6 being started on Xarelto in January of 2014.            6 BY MR. GOZA:
   7 True?                                                   7    Q. Okay. And going back I think to -- now
   8    A. Mr. Boudreaux was taking aspirin prior to         8 we're back at my original question, was: Simply
   9 February of 2014.                                       9 because Mr. -- strike it. Let me ask it again.
  10    Q. And I'm correct in saying that                   10      We know that Mr. Boudreaux had a
  11 Mr. Boudreaux had never been diagnosed with a          11 gastrointestinal bleed after being prescribed
  12 gastrointestinal bleed prior to being prescribed       12 Xarelto, but that does not lead you to the
  13 Xarelto. True?                                         13 conclusion that he would have necessarily have had
  14    A. Prior to being placed on rivaroxaban,            14 a bleed on any other anticoagulant. Is that true?
  15 there's no documentation that Mr. Boudreaux had a      15      MS. duPONT:
  16 GI bleed. Although we have talked about the fact       16         Object to form.
  17 that he's had a mild anemia.                           17      THE WITNESS:
  18    Q. Correct.                                         18         I think in absence of actually doing
  19      And -- and we do know -- one other thing.         19      the study; that is, putting Mr. Boudreaux
  20 We do know at least with respect to the ROCKET         20      on a medication, there's no way of
  21 study it indicated that there was a relative           21      determining any side effect prospectively.
  22 increased risk of gastrointestinal bleed on            22      You have to put the patient on the
  23 Xarelto versus warfarin. True?                         23      medicine and see what happens.
  24    A. We know from the ROCKET study that in that 24 BY MR. GOZA:
  25 population, that the relative risk of bleeding on      25    Q. Meaning --
                                                Page 103                                                   Page 105
   1 rivaroxaban was 1.61 as compared with warfarin.        1 A.  It would   only be -- it would -- it would
   2    Q. Okay. All right. I think we left off --       2 be speculation at best.
   3 and I wanted to make sure -- I apologize for the    3    Q. Okay. So I just want to make sure I'm
   4 break.                                              4 clear.
   5      But I think we had stated that -- that we      5       Meaning simply because he bled on Xarelto
   6 know that Mr. Boudreaux had been prescribed         6 doesn't mean that Mr. Boudreaux would have been --
   7 rivaroxaban when he had his bleed. True?            7 would have bled had he been placed on another
   8    A. At the time --                                8 anticoagulant.
   9      MS. duPONT:                                    9       MS. duPONT:
  10         Object to form.                            10          Object --
  11      THE WITNESS:                                  11 BY MR. GOZA:
  12         -- of his bleed -- at the time of his      12    Q. True?
  13      bleed, Mr. Boudreaux was prescribed           13       MS. MOORE:
  14      rivaroxaban.                                  14          Object.
  15 BY MR. GOZA:                                       15       MS. duPONT:
  16    Q. And we know that rivaroxaban is -- has an 16             Object to form.
  17 increased risk of causing GI bleeds over warfarin. 17       THE WITNESS:
  18 True?                                              18          I don't think we know whether
  19      MS. duPONT:                                   19       Mr. Boudreaux would have bled or not on
  20         Object to form.                            20       any anticoagulant unless he was actually
  21 BY MR. GOZA:                                       21       placed on the drug and we observed
  22    Q. At least according to the label?             22       Mr. Boudreaux.
  23      MS. duPONT:                                   23 BY MR. GOZA:
  24         Object to form.                            24    Q. I know. And the question I'm asking you
  25      THE WITNESS:                                  25 -- and I -- I understand what you're saying. But

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   1 my question's slightly different. Because I want    1         -- I believe that to be true.
   2 to make sure I understand what you're prepared to 2 BY MR. GOZA:
   3 tell the jury and what you're not prepared to tell  3    Q. Yes.
   4 the jury.                                           4       And as I understand -- why don't you tell
   5       You understand that's the purpose of my       5 me what the term "exposure" means to you.
   6 being here today; correct?                          6       MS. duPONT:
   7    A. I understand that.                            7         Object to form.
   8    Q. Okay. So what I'm simply saying is: The       8       THE WITNESS:
   9 simple fact that Mr. Boudreaux bled on Xarelto      9         So from a pharmacokinetic,
  10 does not allow you to come to the conclusion to a 10        pharmacodynamic standpoint, "exposure" can
  11 reasonable degree of medical certainty he would    11       be defined by several parameters. But
  12 have bled had he been on any other anticoagulant. 12        typically area under the curve is the one
  13 True?                                              13       that's probably most apt.
  14       MS. duPONT:                                  14 BY MR. GOZA:
  15          Objection. Asked and answered.            15    Q. And if we're talking about area under the
  16       THE WITNESS:                                 16 curve, for -- for the benefit of the jury, if one
  17          Again, we don't know if Mr. Boudreaux     17 were to take a -- make a graph and that graph were
  18       would bleed or not on any anticoagulant      18 to have as its parameters horizontally listed in
  19       other than rivaroxaban, which was the one    19 -- in hours and -- and vertically drug
  20       he was taking with aspirin, unless we put    20 concentration or vice versa, however it -- it's
  21       him on the drug and see if he bleeds.        21 done, there would be at least with respect to some
  22       There's no way of knowing that.              22 medications a bell curve that would come out in
  23 BY MR. GOZA:                                       23 some format from that?
  24    Q. Okay. I want to ask you a few things that    24       MS. duPONT:
  25 -- that -- just to make sure when you and I talk   25         Object to form.
                                             Page 107                                               Page 109
   1 -- because I want to talk -- I want to ask you a    1      THE WITNESS:
   2 few questions about the label, and I want to make 2            So when we look at area under the
   3 sure that you and I are speaking in the same -- or  3      curve, typically on the vertical, or
   4 at least I have some knowledge of how you define 4         y-axis, there's drug concentration. On
   5 certain terms.                                      5      the X, or horizontal axis, there's time.
   6       The term "exposure" is used in the label      6      There's a time course. It's not actually
   7 on a number of different occasions. Do you recall 7        a bell curve. But what happens is at zero
   8 reading that?                                       8      time of exposure there's no drug
   9       MS. duPONT:                                   9      concentration, so you start at the origin,
  10          Object to form. Are you going to show     10      at 0/0, if you will, on the x/y-axis. And
  11       him a particular point of the --             11      over time, the plasma concentrations
  12       MR. GOZA:                                    12      increase, and then they decrease. And
  13          No. My --                                 13      they follow a certain kinetic pathway.
  14       MS. duPONT:                                  14      These are not bell curves.
  15          -- label?                                 15          Area under the curve is mathematically
  16       MR. GOZA:                                    16      the integral of that graph, but
  17          -- gosh, if he doesn't know the word      17      graphically it's the area under the curve.
  18       "exposure" as used in the label, then I'm    18      It's how much drug exposure there is over
  19       going to be here a long time. So . . .       19      a time period.
  20       THE WITNESS:                                 20 BY MR. GOZA:
  21          If you're asking me is the word           21   Q. So when we're -- and -- and the -- the
  22       "exposure" used in the label --              22 definition of "area under the curve" is somewhat
  23       MR. GOZA:                                    23 repetitive in that it is the area under the curve
  24          Yes.                                      24 when you create that graph. True?
  25       THE WITNESS:                                 25   A. That is correct.

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   1    Q. And -- and some of the factors that affect    1    MS. duPONT:
   2 the increase in area of the -- under the curve,     2       Object to form.
   3 can the -- the Cmax -- Cmax refers to what          3    THE WITNESS:
   4 exactly?                                            4       For some drugs, if you give a higher
   5    A. The Cmax is a maximum concentration found 5        dose, you can increase the Cmax. Some
   6 after administration of a drug.                     6    drugs don't have the ability to reach --
   7    Q. And can an increase in the maximum            7    to increase Cmax with increased dose
   8 concentration of a drug in a patient increase the   8    beyond a certain point. They're just not
   9 area under the curve?                               9    absorbed -- if there's a hundred --
  10    A. An increase in Cmax can increase the area    10    theoretically, if there's a hundred
  11 under the curve but does not have to. If a drug    11    percent -- if the ability to absorb a drug
  12 is rapidly absorbed with a high Cmax and then      12    is a hundred percent saturated, if you
  13 rapidly excreted, that's going to have -- that     13    give more of the drug, you're not going to
  14 drug will have a lower area under the curve than a 14    be able to get a higher serum
  15 drug with a slow excretion and not as high a Cmax. 15    concentration.
  16 That's why area under the curve is a particularly  16 BY MR. GOZA:
  17 good measurement for exposure. It takes into       17  Q. You read the --
  18 account much more than Cmax. It takes into         18    MS. duPONT:
  19 account elimination as well.                       19       Hey, Kirk, I assume that you're going
  20    Q. So when we're talking about -- when we       20    to get to something with Mr. Boudreaux.
  21 talk about drug concentration levels, what does    21    This seems to be a pretty generic opinion
  22 that mean, plasma concentration level?             22    that there was a separate deposition for.
  23    A. Plasma concentration level is a single       23    I understand foundation issues. But . . .
  24 point in time attained because blood is drawn, and 24    MR. GOZA:
  25 then using an assay, the amount of drug per volume 25       Well, yeah. Come on. I'll get there.
                                             Page 111                                                Page 113
   1 plasma, typically, is -- is measured. These can      1      I thought I've been pretty
   2 be done with a radioimmunoassay or a number of       2      Boudreaux-specific.
   3 ways to determine what the actual concentration      3      MS. duPONT:
   4 is.                                                  4         You have.
   5     Q. Okay. And can -- plasma concentration         5      MR. GOZA:
   6 levels increase Cmax levels, I assume?               6         What do you mean?
   7        MS. duPONT:                                   7      MS. duPONT:
   8           Objection. Form.                           8         You have.
   9        THE WITNESS:                                  9      MR. GOZA:
  10           That doesn't -- I'm -- I'm sorry.         10         What -- what is -- what are you
  11        That question doesn't make a lot of sense.   11      talking about?
  12        So --                                        12      MS. duPONT:
  13        MR. GOZA:                                    13         You have up until this point.
  14           Okay.                                     14 BY MR. GOZA:
  15        THE WITNESS:                                 15    Q. Do you -- do you believe that there is a
  16           -- if a patient has a higher -- if a      16 level of increase in area under the curve that can
  17        drug has a higher Cmax than another drug,    17 result in increased bleeding to patients on
  18        at the point of maximal concentration --     18 Xarelto?
  19        at -- at the point of the Cmax, the          19      MS. duPONT:
  20        concentration will be higher.                20         Object to form.
  21 BY MR. GOZA:                                        21      THE WITNESS:
  22     Q. And -- and maybe I -- let me ask it in a     22         I -- I'd have to look at the
  23 little bit different way.                           23      pharmacokinetic, pharmacodynamic studies.
  24        Can you by giving more, a higher dose of a   24      I'm not sure -- I can't recall any graph
  25 drug, increase the Cmax?                            25      that related area under the curve to

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   1       bleeding risk.                                1          Are you going to mark that or . . .
   2 BY MR. GOZA:                                        2      MR. GOZA:
   3    Q. And when you're saying pharmokinetics         3          Yeah. Let's mark it as Exhibit 5.
   4 [sic], you're talking about the label, or you're    4      And here, I'll stick that on there.
   5 talking about something else?                       5      Doctor, let's mark that as Exhibit 5,
   6       MS. duPONT:                                   6      please.
   7           Object to form.                           7      (Exhibit No. 5 was marked for
   8       THE WITNESS:                                  8      identification and attached hereto.)
   9           When I talk about pharmacokinetics,       9      MR. HOGUE:
  10       there were studies by Mueck and Kubitza.     10          What is it?
  11       There's also an FDA document that I          11      MS. duPONT:
  12       reviewed that reviewed some of the           12          It's the Mueck 2014 article.
  13       pharmacokinetics and pharmacodynamics. So    13      THE WITNESS:
  14       it's well beyond the label.                  14          Mueck 2014.
  15 BY MR. GOZA:                                       15      MS. duPONT:
  16    Q. Okay. So, for instance, the Mueck article    16          And I -- I just note for the record
  17 does talk about levels at which there are          17      that I think that this is beyond the scope
  18 increased bleeding risks. True?                    18      of Mr. Boudreaux's report and is pertinent
  19       MS. duPONT:                                  19      to the previous deposition he gave. But
  20           Object to form.                          20      I'll allow questioning.
  21       THE WITNESS:                                 21      MR. GOZA:
  22           If you show me the specific graph,       22          And I appreciate it. And just indulge
  23       I'll interpret it for you.                   23      me a little bit here, and we'll be -- like
  24       MS. duPONT:                                  24      I said, we'll be finished and take a quick
  25           Again, I think this is -- this relates   25      break.
                                            Page 115                                               Page 117
   1      to the generic deposition that he's            1 BY MR. GOZA:
   2      already been deposed on.                       2    Q. And so my -- my simple question was this
   3      MR. GOZA:                                      3 -- it -- it looks to me that Mueck is looking at
   4         I'm almost be finished. This will be        4 two things here, one, area of the curve and Cmax.
   5      -- I'll just -- I'll just get this and --      5 Am I correct about that?
   6      MS. duPONT:                                    6    A. Can you point where you're looking?
   7         Okay.                                       7        MS. duPONT:
   8      MR. GOZA:                                      8           Yeah. What page?
   9         -- then we're going to take a quick         9 BY MR. GOZA:
  10      break anyway. And I'm about -- about          10    Q. Sure. I'm sorry. If you look at Page 12,
  11      done.                                         11 summary of drug interactions. And I think I had
  12         I think there's a table or a chart         12 it open for you. There you go.
  13      that he's got, but let's just -- I -- I       13    A. Okay.
  14      think I -- just to get to the point, I        14    Q. And this is a summary on drug
  15      think the very top --                         15 interactions.
  16      MS. duPONT:                                   16        And this is an article that you had marked
  17         Do you have a copy of that for me          17 as one that you had reviewed. True?
  18      by --                                         18    A. That is true.
  19      MR. GOZA:                                     19    Q. And he's talking here about increases in
  20         Oh, yeah.                                  20 area under the curve and increases in the mean
  21      MS. duPONT:                                   21 Cmax. True?
  22         -- chance?                                 22        MS. duPONT:
  23      MR. GOZA:                                     23           Object to form. Where are you
  24         I'm sorry.                                 24        referring to in that?
  25      MS. duPONT:                                   25        MR. GOZA:

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   1           I'm looking under -- if you look under      1    Q. I think it's stated on the first page of
   2        the first paragraph, azole-antimycotics,       2 the document, the --
   3        ketoconazole.                                  3    A. I notice that Wolfgang Mueck's e-mail is
   4        MS. duPONT:                                    4 at Bayer.com.
   5           Okay.                                       5    Q. Yeah. So I -- I think I'd represent to
   6 BY MR. GOZA:                                          6 you that certainly in 2014 he was an employee of
   7    Q. Did I get that right?                           7 Bayer.
   8    A. Ketoconazole.                                   8       Does he seem to be saying that there is a
   9    Q. Ketoconazole.                                   9 level of area under the curve that when you reach
  10        Am I correct that he's saying that a          10 that level, the pharmacodynamic effects of the
  11 1.7-fold increase in Cmax -- and let's -- I'll --    11 drug are increased to the point where there may be
  12 let's read the whole thing to be completely          12 an increased risk of bleeding?
  13 accurate.                                            13       MS. duPONT:
  14        It says, "Co-administration of rivaroxaban    14         Object to form.
  15 with the azole-antimycotic ketoconazole (400 mg"     15       MS. MOORE:
  16 -- "od" means once a day -- "led to a 2.6-fold       16         Object.
  17 increase in mean rivaroxaban" A -- "steady-state     17       THE WITNESS:
  18 AUC and a 1.7-fold increase in . . . Cmax with       18         I think that what is stated in that
  19 significant increases in its pharmacodynamic         19       paragraph is that all -- increases in
  20 effects that may lead to an increased risk of        20       pharmacodynamic effects may -- he uses the
  21 bleeding."                                           21       word "may" -- lead to an increased risk of
  22        So let me ask just a few questions. "AUC"     22       bleeding. Correct.
  23 stands for area under the curve that we've been      23 BY MR. GOZA:
  24 talking about. True?                                 24    Q. Okay. You've never seen that table appear
  25    A. "AUC" in this context stands for area          25 in any label of Xarelto. Is that true?

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   1 under the curve. Correct.                             1    MS. duPONT:
   2    Q. And the mean Cmax we've talked about as         2       Object to form.
   3 the highest point on the graph, so to speak?          3    THE WITNESS:
   4    A. When you look at a time plasma                  4       I --
   5 concentration graph, the Cmax is the highest point    5    MS. duPONT:
   6 on the graph. Correct.                                6       Are you referring to Table 4?
   7    Q. And when it says "with significant              7    MR. GOZA:
   8 increases in its pharmacodynamic effects," what       8       Yes, sir -- yes, ma'am. Sorry.
   9 does that mean?                                       9    Sorry.
  10      MS. duPONT:                                     10    THE WITNESS:
  11         Object to form.                              11       I -- I'd have to relook at the label
  12      THE WITNESS:                                    12    to see if it's in there.
  13         I'd only be speculating.                     13    MR. GOZA:
  14 BY MR. GOZA:                                         14       Okay. Why don't we take -- we've been
  15    Q. Okay. And it says "that may lead to an         15    going another hour. Let's take
  16 increased risk of bleeding."                         16    five minutes, and then I'm going to be
  17      Did I read that correctly?                      17    close to . . .
  18    A. That's what's stated here.                     18    THE VIDEOGRAPHER:
  19    Q. Okay. Is -- is Dr. -- is it Mueck?             19       This is the end of Tape 2. We're now
  20    A. I believe it's Mueck.                          20    off the record at 10:46.
  21    Q. Yeah.                                          21    (Brief recess was taken.)
  22    A. I've not met him. But . . .                    22    THE VIDEOGRAPHER:
  23    Q. He's a Bayer employee?                         23       This is the beginning of Tape 3.
  24    A. I don't know that to be fact. But if it's      24    We're back on the record at 11:02.
  25 stated somewhere, I'm happy to agree with that.      25 BY MR. GOZA:


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   1    Q. Doctor, in -- in your report on                     1    Q. Well, I'm just asking you: Are -- the --
   2 Mr. Boudreaux you have a number of paragraphs that        2 because it -- he's got it listed for other drugs
   3 relate to the use of PT. Do you recall that? I            3 as well. True? I mean, we -- we could go through
   4 think it's on Page 11.                                    4 Table 12. But I'm -- I'm simply right now trying
   5    A. I do.                                               5 to -- to understand a particular point.
   6    Q. Let me ask you a couple of quick things.            6       In one of the -- the questions I have,
   7 If you look at the label on 12.2, which I think           7 when you go to Page 23 of the label and you look
   8 we've marked as Exhibit 4, so the -- that's the --        8 at -- at the Pharmacodynamics, when it says --
   9 I believe you have the 2015 label in front of you.        9 under 12.2. "Dose-dependent inhibition of"
  10 And is it marked as Exhibit 4? Am I correct or --        10 Factor Xa "activity was observed in humans and the
  11    A. Exhibit 4 is the prescribing information           11 Neoplastin prothrombin time . . . activated
  12 for rivaroxaban.                                         12 partial thromboplastin time . . . and HepTest are
  13    Q. Okay. And if you turn to Page 23, which I          13 prolonged dose-dependently."
  14 think is the Pharmacodynamics.                           14       So let me ask this question first: What
  15    A. Yes.                                               15 does it mean when it says "dose-dependent
  16    Q. And you recall when I left off I had asked         16 inhibition of" Factor Xa "activity was observed in
  17 you about Dr. Mueck and -- and he said there were        17 humans" when they were taking Xarelto?
  18 increased pharmacodynamic effects when the area          18       MS. duPONT:
  19 under the curve, or the Cmax level, reached a            19           Object to form.
  20 certain point. Do you recall that?                       20       THE WITNESS:
  21       MS. duPONT:                                        21           So rivaroxaban is a drug that inhibits
  22          Object to form.                                 22       Factor Xa. The first statement says
  23       THE WITNESS:                                       23       "Dose-dependent inhibition of" Factor Xa
  24          I recall that Dr. Mueck says that               24       "was observed in humans." That suggests
  25       increases in Cmax with significant -- he           25       that in a dose-dependent mechanism;
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   1      says that "increases in . . .                        1       namely, as you change dose you get changes
   2      pharmacodynamic effects . . . may lead to            2       in inhibition of Factor Xa activities in
   3      an increased risk of bleeding." Is that              3       humans.
   4      what you're referring to?                            4 BY MR. GOZA:
   5 BY MR. GOZA:                                              5    Q. Does it suggest to you that the higher the
   6    Q. Right. He says there is increased                   6 dose, that the higher the inhibition of Factor Xa
   7 "pharmacodynamic effects" and "that may lead to an        7 activity is?
   8 increased risk of bleeding."                              8    A. I'd have to see that graph specifically.
   9      MS. duPONT:                                          9 But it -- but "Dose-Dependent inhibition of"
  10         Object to form.                                  10 Factor Xa "activity was observed," is what it says
  11 BY MR. GOZA:                                             11 in Paragraph 12.2.
  12    Q. Am I correct?                                      12    Q. Okay. And am I correct that the -- within
  13    A. The exact statement is: "that may lead to          13 a certain maximum absorption limit which you've
  14 an increased risk of bleeding." Correct.                 14 explained to us, but that the higher the dose that
  15    Q. And I was talking about really -- start            15 is given, the increased concentration of the drug
  16 back a couple of words before that.                      16 in the blood?
  17      What does he say about pharmacodynamic              17       MS. duPONT:
  18 effects?                                                 18          Object to form.
  19    A. He says, "significant increases in its             19       THE WITNESS:
  20 pharmacodynamic effects that may lead to an              20          So from a pharmacokinetic,
  21 increased risk of bleeding."                             21       pharmacodynamic perspective, you can with
  22      And this is -- just to qualify, in this             22       many drugs get a higher plasma
  23 context specific for the azole-antimycotic               23       concentration with higher dose.
  24 ketoconazole that Mr. Boudreaux wasn't taking. So        24 BY MR. GOZA:
  25 I'm not sure where we're going with this.                25    Q. And as I hear what you're saying about

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   1 12.2, it's saying when you have a higher            1       sense of what's in his report. So let --
   2 concentration level, that you have increased        2       let me make sure I just -- I think I have
   3 inhibition of Factor VIII -- Xa activity; correct? 3        a question pending. So . . . Go . . .
   4      MS. duPONT:                                    4       Where did we go before we all started
   5          Kirk, this is again getting into           5       arguing? Oh. Here we go. Here we go.
   6      generic issues that we had a generic           6 BY  MR.    GOZA:
   7      deposition --                                  7   Q. That -- as I understand, what this is
   8      MR. GOZA:                                      8 essentially saying in the -- is that the higher
   9          You know --                                9 the concentration level of the drug, the increased
  10      MS. duPONT:                                   10 inhibition of Factor Xa activity; is that correct?
  11          -- for. So unless you can bring it        11       MS. duPONT:
  12      back to Mr. Boudreaux --                      12          Object to form.
  13      MR. GOZA:                                     13       THE WITNESS:
  14          Well, he --                               14          So again, to read what it says,
  15      MS. duPONT:                                   15       "Dose-dependent inhibition of" Factor Xa
  16          -- quickly here --                        16       "activity was observed in humans." That
  17      MR. GOZA:                                     17       suggests that Factor Xa activity
  18          -- basically says that PT -- in this      18       inhibition is observed in a dose-dependent
  19      whole Paragraph 11, he says PT is of no       19       fashion.
  20      relevance. And -- and -- and so I think       20 BY MR. GOZA:
  21      I'm entitled to ask questions related to      21   Q. And I can read it. I'm just wondering
  22      the topic of PT as it pertains to the         22 what does that mean?
  23      label.                                        23   A. So what it -- what it suggests is that as
  24      MS. MOORE:                                    24 you  increase dose in human beings you get varied
  25          But -- but, Counsel, I might add that     25 inhibition of Factor Xa activity.
                                             Page 127                                               Page 129
   1      that particular paragraph -- that -- that      1 Q. And is it your interpretation of that
   2      opinion is the same opinion in the generic 2 statement -- when you say "varied inhibition," do
   3      report, and there was ample time to         3 you mean increased inhibition with increased drug
   4      address that previously.                    4 levels -- or increased levels of the drug?
   5      MR. GOZA:                                   5      MS. duPONT:
   6         Well -- well, I get it. But the fact     6         Object to form.
   7      that it was in the generic report -- it's   7      THE WITNESS:
   8      also in this report. If he hadn't put it    8         That would make sense, although that's
   9      in this report, I wouldn't get maybe to     9      not specifically stated in -- in that
  10      ask about it.                              10      paragraph. I guess conceivably as you
  11      MS. duPONT:                                11      increase the dose you could get decreased
  12         If -- if you --                         12      Factor Xa in -- in activity. It doesn't
  13      MR. GOZA:                                  13      say that it's -- whether it's -- there's a
  14         I get that.                             14      direct and indirect relationship. But
  15      MS. duPONT:                                15      biologically it makes since the drug
  16         -- want to ask him about what's in his  16      inhibits  Factor X, that at increasing dose
  17      report, ask him about what's in his        17      you get increased inhibition of Factor Xa.
  18      report.                                    18 BY MR. GOZA:
  19      MR. GOZA:                                  19    Q. And when it says that PT is prolonged
  20         Well --                                 20 dose-dependently, what does that mean?
  21      MS. duPONT:                                21    A. I don't know what they're trying to say.
  22         Okay?                                   22 And in my generic report I spoke at great length
  23      MR. GOZA:                                  23 about the relationship between pro -- between PT
  24         -- let me get this first because I      24 and serum concentration of rivaroxaban. The
  25      need to understand this in order to make 25 problem is with a general statement as a -- as --
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   1 as -- as is stated here, is it really depends on      1 this is -- the label is something the physician is
   2 what range of serum concentrations we're talking      2 supposed to be able to read and understand about
   3 about. And I made that point pretty clearly in my     3 the drug. True?
   4 generic report.                                       4       MS. MOORE:
   5       There are some pharmacodynamic studies          5          Object to the form.
   6 looking at a range of serum concentrations that       6       MS. duPONT:
   7 greatly exceed by a factor of four or five those      7          Object to form.
   8 that you get with typical drug dosing. And if you     8       MS. MOORE:
   9 plot those concentrations on the x-axis versus        9          Sorry.
  10 prothrombin time on the y-axis, one can come up      10       MR. GOZA:
  11 with a relationship that appears linear. The         11          Strike that. We'll -- we'll --
  12 problem is is if you look at the area of the graph   12       we'll -- let me ask it in a different way.
  13 which is in the far left-hand part of the graph      13 BY MR. GOZA:
  14 that refers -- where -- where the serum              14    Q. Okay. So we're reading from the label,
  15 concentrations -- plasma concentrations -- excuse    15 and it says PT -- and we can bypass the rest for
  16 me -- are those that you typically get with the      16 now. But -- but it says PT are prolonged
  17 drug, that curve is significantly less linear.       17 dose-dependently. So when it -- just -- just take
  18 That's the problem.                                  18 the "prolong."
  19       So that statement you just made is not         19       What does it mean when the PT time is
  20 specific for range of plasma concentration.          20 prolonged?
  21    Q. And -- and just so we're clear -- because      21    A. The prothrombin time is typically -- not
  22 you said the statement I just made. I'm just         22 typically. It's expressed in seconds, and it's
  23 reading what's in the label.                         23 the number of seconds it takes for the formation
  24    A. That's fair.                                   24 of a -- of a fibrin clot in plasma when a reagent
  25    Q. Because the -- this is what the drug           25 is added to it. And the reagent is typically a

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   1 company is saying. True?                           1 synthetic or naturally occurring source of tissue
   2       MS. duPONT:                                  2 factor. It's measured in seconds.
   3         Object to form.                            3       When the label says "prolonged," it means
   4       THE WITNESS:                                 4 that the number of seconds it takes for that
   5         The drug company's -- the label is         5 plasma to form a fibrin clot in the test tube is
   6       correct as you have read it. Yes.            6 increased.
   7 BY MR. GOZA:                                       7    Q. Okay. And when it says prolonged
   8    Q. Okay. And so when it says -- and -- and      8 dose-dependently, what does that mean?
   9 alls I'm trying to do is make sure I understand    9    A. What that would mean is that as you
  10 what this is saying. But it says that prothrombin 10 increase dose you get a prolongation in the
  11 time is prolonged. When you say prothrombin time 11 prothrombin time. You get a prolongation in the
  12 is prolonged -- we'll break it down.              12 prothrombin time. Again, that's a very general
  13       But when you say prothrombin time is        13 statement.
  14 prolonged, it means that the PT time is elevated, 14       And I need to qualify to say that when you
  15 higher.                                           15 look at the pharmacokinetic data, that is perhaps
  16       MS. duPONT:                                 16 only true over a range of plasma concentrations
  17         Object to form.                           17 that greatly exceed that you see -- than those you
  18 BY MR. GOZA:                                      18 see with normal dosing of the medication.
  19    Q. True?                                       19       MR. GOZA:
  20    A. Higher -- I'm sorry. Can you repeat --      20          Okay. And I'm going to move to strike
  21 I'm not sure what -- what your --                 21       after you answered the -- the question,
  22    Q. Sure.                                       22       which I think ended with "get a
  23    A. -- question is.                             23       prolongation in the prothrombin time."
  24    Q. Sure.                                       24 BY MR. GOZA:
  25       And, you know, here's the thing: This --    25    Q. Because I -- I understand what your

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   1 opinions are. I'm -- I'm simply trying to now       decision, they want as much information as they
                                                          1
   2 understand what it is the drug company says here 2 could get. True?
   3 and get your interpretation of that.              3      MS. duPONT:
   4   A. Well, I think that --                        4         Object to form.
   5      MS. duPONT:                                  5      THE WITNESS:
   6         Object to form.                           6         When physicians make a decision to do
   7      THE WITNESS:                                 7      any intervention on a patient, including
   8         I think that to get what they're          8      anticoagulation, they use their best
   9      trying to say it has to be taken in          9      clinical judgment to look at risks and
  10      context. And to be fair, you're trying to   10      benefits. That is correct.
  11      remove the context. And as such, I'm not    11 BY MR. GOZA:
  12      going to agree with the statement that you 12 Q. And one of the tools that you I think have
  13      made.                                       13 mentioned in using or doing that risk-benefit
  14 BY MR. GOZA:                                     14 analysis would be a CHADS score?
  15   Q. And just so --                              15   A. So one way --
  16   A. This was -- has to be taken in context.     16      MS. duPONT:
  17   Q. But in -- in 12.2, when it's talking about  17         Object to form.
  18 the pharmacodynamics, I read the entire thing;   18      THE WITNESS:
  19 correct? I didn't -- we're not taking it out of  19         -- to -- one way to assess the
  20 context in that sense, are we?                   20      thrombotic risk in a patient with atrial
  21      MS. duPONT:                                 21      fibrillation is a CHADS2 score that's been
  22         Object to form.                          22      modified to the CHADS-VASc score, but we
  23      THE WITNESS:                                23      can generically call it a CHADS score.
  24         You read Item -- Paragraph 12.2          24 BY MR. GOZA:
  25      verbatim from the product insert.           25   Q. Okay. And the other side of that coin is
                                             Page 135                                                Page 137
   1       Correct.                                       1 you have to balance that -- the risk of thrombosis
   2 BY MR. GOZA:                                         2 against the risk of the -- of the medication, an
   3    Q. Okay. Now, in evaluating patients, do you      3 anticoagulant causing a bleed. True?
   4 -- or -- or strike that.                             4      MS. duPONT:
   5       There is something called a -- you -- you      5          Object to form.
   6 mentioned before in your -- in your testimony        6      THE WITNESS:
   7 today that there's a risk-benefit analysis that      7          As with any medication, if one is
   8 goes on with respect to prescribing an               8      making such a risk assessment, you'd have
   9 anticoagulant in the context of somebody that has    9       to look at the likelihood of benefit
  10 a-fibrillation. True?                               10      versus the likelihood of risk. In a
  11       MS. duPONT:                                   11       setting of an anticoagulant for atrial
  12          Object to form.                            12       fibrillation, the likelihood of benefit
  13       THE WITNESS:                                  13      would be prevention of stroke, and the
  14          So I -- I think that as a general          14      likelihood of risk predominantly would be
  15       statement, whenever we entertain any          15       the likelihood of bleeding.
  16       intervention in a patient, whether that be    16 BY MR. GOZA:
  17       a drug or a surgery, we always look at        17    Q. And in doing that risk-benefit, the other
  18       risk-benefit. And such would also be true     18 side of the risk-benefit analysis, one -- one of
  19       when one prescribes an anticoagulant for      19 the tools that is available to a physician is a
  20       atrial fibrillation.                          20 HAS-BLED score?
  21 BY MR. GOZA:                                        21      MS. duPONT:
  22    Q. And one in making that evaluation would       22          Object to form.
  23 want to understand as much about the risks as       23      THE WITNESS:
  24 readily or as -- as -- at least in terms of         24          So the HAS-BLED score is a tool in the
  25 important clinical information in making that       25       literature to estimate risk for bleeding.

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   1 BY MR. GOZA:                                                1 forward in this risk-benefit analysis, it adds a
   2    Q. And the HAS-BLED score is broken down into            2 point --
   3 low risk, intermediate risk, and high risk. True?           3       MS. duPONT:
   4       MS. duPONT:                                           4          Object to form.
   5          Object to form.                                    5 BY MR. GOZA:
   6       THE WITNESS:                                          6    Q. -- to the other side. True?
   7          So candidly, I don't use the high --               7    A. So moving forward, once any patient has
   8       the HAS-BLED score specifically. I do it              8 had a bleed, their likelihood of having a
   9       -- although I take into account many of               9 subsequent bleed as assessed by HAS-BLED would be
  10       the items found in HAS-BLED. Because I'm             10 increased.
  11       not as familiar with it -- I know that it            11    Q. Okay. And in fact -- or strike that.
  12       is broken down into low, intermediate, and           12       And that's where I think you -- we -- we
  13       high risk. But I -- I'm not prepared                 13 left off when talking about the individual
  14       right now without looking at the medical             14 evaluation then about whether to restart on a
  15       literature to tell you what those specific           15 different anticoagulant or not, is a subjective
  16       cutoffs are, if that's what you're going             16 one made by the physician that's evaluating the
  17       to ask.                                              17 overall circumstance of the patient. True?
  18 BY MR. GOZA:                                               18       MS. duPONT:
  19    Q. Okay. But we do know that when a patient             19          Object to form.
  20 has -- in this instance, Mr. Boudreaux had a bleed         20       THE WITNESS:
  21 while being prescribed Xarelto. That would on the          21          I think a decision to re-anticoagulate
  22 HAS-BLED score increase the risk of potential              22       a patient who's bled is based on
  23 bleeds in the future in terms of an evaluation.            23       assessment and risk and -- risk and
  24 Is that true?                                              24       benefit.
  25       MS. duPONT:                                          25 BY MR. GOZA:

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   1          Object to form.                                    1    Q. And if someone was looking at a HAS-BLED
   2       THE WITNESS:                                          2 score, what we do know is that the -- on the risk
   3          That's not exactly correct. Scores                 3 side of things, that you add a point, so to speak,
   4       like the HAS-BLED score and CHADS apply to            4 for having the prior bleed?
   5       populations, not individual patients. So              5      MS. duPONT:
   6       you're making an extrapolation that if                6         Object to form.
   7       there's an increased risk of bleeding in a            7      THE WITNESS:
   8       population, that would specifically apply             8         If one were to use the HAS-BLED score,
   9       to an individual patient. And quite                   9      a previous bleed adds a point, as you have
  10       frankly, that's a -- that's a leap of                10      suggested.
  11       faith.                                               11 BY MR. GOZA:
  12 BY MR. GOZA:                                               12    Q. Let me talk a little bit about -- you --
  13    Q. Well, I'm really not trying to make that             13 you mention the use of NSAIDs I think at
  14 quantification at all.                                     14 Paragraph 10 of your report.
  15       What I'm simply saying is: When one looks            15      MS. duPONT:
  16 at the HAS-BLED score and the factors that you             16         Page 10?
  17 consider, prior bleed is one of those factors?             17      MR. GOZA:
  18    A. My recollection of the HAS-BLED score is             18         Page 10, last paragraph.
  19 that one of the items in the HAS-BLED score is             19      THE WITNESS:
  20 previous bleeding.                                         20         I see where you're referring.
  21    Q. Yeah.                                                21 BY MR. GOZA:
  22       So the fact that you had a previous bleed,           22    Q. Now, you -- you had talked about certain
  23 in this instance a previous bleed on Xarelto,              23 kinds of drugs that actually caused physical
  24 would potentially increase or in terms of the              24 injury to the intestinal wall. I think you -- you
  25 physician making an evaluation of what to do going         25 talked about that earlier. Maybe "intestinal


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   1 wall" is too limited a term. But . . .                 1 Q. And fair to say that a number of patients
   2    A. So with the qualification that it's typic     2 are -- in -- in your experience, many patients
   3 -- it's more typically the gastric mucosa. There    3 that have atrial fibrillation are on aspirin
   4 are certain drugs that are direct irritants to the  4 therapy?
   5 gastric mucosa.                                     5       MS. duPONT:
   6    Q. Okay. Is it your position or are you          6          Object to form.
   7 going to testify that there was -- that the NSAID   7       THE WITNESS:
   8 Mr. -- Mr. Boudreaux's use of NSAIDs in this case   8          So in my experience, because many
   9 caused him to have an ulceration of the GI tract?   9       patients with atrial fibrillation develop
  10        MS. duPONT:                                 10       atrial fibrillation as a result of
  11           Object to form.                          11       hypertension, which is also a risk factor
  12        THE WITNESS:                                12       for coronary artery disease, which is
  13           It's my testimony that nonsteroidal      13       typically treated with low dose aspirin,
  14        anti-inflammatories as a class are          14       there are many patients with atrial
  15        associated with an increased risk of        15       fibrillation treated with aspirin in
  16        gastric bleeding for several reasons,       16       addition to an oral anticoagulant.
  17        three specifically: one, as they inhibit    17 BY MR. GOZA:
  18        prostaglandin synthesis, they inhibit       18    Q. And you've mentioned in terms of -- is --
  19        production of the protective mucus lining   19 one of the ways that aspirin contributes to the
  20        in the stomach; two, many nonsteroidals     20 risk of GI bleeds is through causing an ulcer?
  21        are local irritants to the esophagus, the   21       MS. duPONT:
  22        duodenum, and the stomach; and three,       22          Object to form.
  23        because nonsteroidals are reversible        23       THE WITNESS:
  24        inhibitors of cyclooxygenase, as a class    24          So aspirin can contribute to bleeding
  25        they impair platelet function.              25       a number -- aspirin is in the class of
                                                Page 143                                                  Page 145
   1          So the combination of a decreased             1   drugs  known    as nonsteroidal
   2       protective level -- layer, a local           2       anti-inflammatories. So what I just said
   3       irritation, and inhibition of a normal       3       for those, aspirin is included in that
   4       clotting cell to do its job render these     4       class and in that description. Aspirin
   5       drugs likely to be associated with GI        5       can cause a direct ulcer, but aspirin can
   6       bleeding.                                    6       also cause a local irritation known as
   7 BY MR. GOZA:                                       7       gastritis that's not a frank ulcer.
   8    Q. Okay. And I understand in general            8 BY MR. GOZA:
   9 there -- there are certain mechanisms by which     9     Q. Okay. And I -- I am correct that
  10 these drugs can contribute to a bleed.            10 Dr. Joshi certainly didn't diagnose Mr. Boudreaux
  11       But what I'm trying to understand here --   11 as having a direct ulcer. True?
  12 are you saying that in this case, that            12     A. My recollection and review of Dr. Joshi's
  13 Mr. Boudreaux's use of -- let's take indomethacin 13 report is he did not report an ulcer. That's
  14 at this point, caused or contributed to cause his 14 correct.
  15 GI bleed, or are you simply saying that's a       15     Q. And did he diagnose him with gastritis?
  16 possibility I can't rule out?                     16     A. So gastritis is a difficult diagnosis to
  17       MS. duPONT:                                 17 make in the absence of bleeding.
  18          Object to form.                          18       The problem is is that when Mr. Boudreaux
  19       THE WITNESS:                                19 had  his upper endoscopy he was no longer bleeding.
  20          I'm saying the fact that Mr. Boudreaux   20 The fact that gastritis wasn't noted just means
  21       was on NSAIDs in addition to aspirin and    21 that he did not have bleeding at the time of the
  22       rivaroxaban, his risk of bleeding was       22 endoscopy. That doesn't mean that he didn't have
  23       increased over patients not taking those    23 it two days before or a week before.
  24       medications.                                24     Q. It also doesn't mean that he did; is that
  25 BY MR. GOZA:                                      25 correct?


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   1      MS. duPONT:                                      1      testify he did not have an ulcer, because
   2         Object to form.                               2      that would have been visualized.
   3      THE WITNESS:                                     3 BY MR. GOZA:
   4         So the fact that it was not -- the            4    Q. You -- you say that Mr. Boudreaux had an
   5      fact that he didn't see it means that he         5 enlarged liver of unclear etiology, if I read that
   6      didn't see it.                                   6 correctly?
   7 BY MR. GOZA:                                          7    A. That's correct. And that's from the
   8   Q. Okay. So let's go back to my original            8 medical records.
   9 question, was: Did Dr. Joshi diagnose                 9    Q. Okay. And has anyone, to your knowledge,
  10 Mr. Boudreaux with gastritis?                        10 in reading the records done any evaluation, or has
  11      MS. duPONT:                                     11 there been any clearing up of that issue about the
  12         Object to form. Already answered it.         12 cause of any enlarged liver?
  13      THE WITNESS:                                    13      MS. duPONT:
  14         Dr. --                                       14         Object to form.
  15      MS. duPONT:                                     15      THE WITNESS:
  16         Asked and answered.                          16         I believe that there's some
  17      THE WITNESS:                                    17      speculation in the chart, but there's no
  18         -- Joshi did not diagnose him with           18      -- there was no liver biopsy, which is
  19      gastritis, but that does not mean that          19      what would probably be needed to determine
  20      Mr. Boudreaux did not have gastritis.           20      precisely the etiology of his enlarged
  21      MR. GOZA:                                       21      liver. I believe that there's some
  22         Move to strike after the response to         22      speculation that this might be passive
  23      the question.                                   23      congestion from congestive heart failure
  24 BY MR. GOZA:                                         24      and/or fatty liver from diabetes and
  25   Q. What I'm --                                     25      obesity, but there's no definitive
                                              Page 147                                                Page 149
   1    A. I'm going to qualify my answers. You may        1       diagnosis in the record.
   2 not like my qualification, but I'm sorry. I'm         2 BY MR. GOZA:
   3 going to qualify my answers.                          3    Q. And does enlarged liver from passive
   4    Q. And I -- you're -- you're right. I may          4 congestion -- is it -- is it your testimony that
   5 not like it, and then I get to move to strike.        5 enlarged liver from passive heart congestion
   6 And we can all let the court decide it later on.      6 result in increased bleeding risk?
   7       So my -- my real -- what I -- what I'm          7    A. So because the liver makes every clotting
   8 trying to get at here is -- I understand you've       8 factor in the body, patients with liver injury can
   9 listed a number of possibilities, and we've talked    9 have an impaired ability to synthesize coagulation
  10 about those several times.                           10 factors, which interestingly, because of the short
  11       But am I correct that based upon the fact      11 half-life of Factor VII result in elevations in
  12 that no one saw gastritis or diagnosed him with      12 the prothrombin time.
  13 gastritis or saw a direct ulcer diagnosed with --    13    Q. Okay. I -- I may -- I'm not sure if that
  14 diagnosed Mr. Boudreaux as having a direct ulcer,    14 is responsive. Let me ask my -- my question again
  15 that you're not going to come into the courtroom     15 because I'm not sure I -- it had any -- you didn't
  16 and testify to a reasonable degree of medical        16 mention anything about bleeding risk. So I'm --
  17 certainty that he had those conditions?              17 I'm a little unclear.
  18       MS. duPONT:                                    18       I said: Is it your testimony that
  19          Object to form.                             19 enlarged liver from passive heart congestion
  20       THE WITNESS:                                   20 results in increased bleeding risk?
  21          I am not going to testify that              21       MS. duPONT:
  22       Mr. Boudreaux had gastritis or had an          22          Object to form.
  23       ulcer. And I'm certainly not going to          23       THE WITNESS:
  24       testify that he did not have those as          24          So insofar as passive congestion can
  25       well. Well, I can't -- I'm going to            25       impair the liver's ability to make

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   1       clotting factors, it can be -- an enlarged      1          Where are you reading from?
   2       liver can be associated with an increased       2       MR. GOZA:
   3       risk for bleeding.                              3          I'm sorry. I was reading on Page 9.
   4 BY MR. GOZA:                                          4       THE WITNESS:
   5    Q. And is there a way to test for that?            5          So patients who have iron deficiency
   6    A. So the best way to test for the liver's         6       show laboratory studies that include a low
   7 ability to synthesize coagulation factors would be    7       serum iron, an elevated TIBC, and a
   8 to measure levels of specific coagulation factors.    8       decreased ferritin.
   9 Those were not done, and I'm not suggesting that      9 BY MR. GOZA:
  10 they should have been done in the case of            10    Q. Okay. And in looking at Mr. Boudreaux's
  11 Mr. Boudreaux.                                       11 laboratory results from February -- I believe this
  12       I will say, however, that because              12 is the 4th. You have those listed on Page 8.
  13 Factor VII is intimately linked to the prothrombin   13    A. At the very top?
  14 time, patients with liver insufficiency frequently   14    Q. Yes, sir.
  15 have elevations in their prothrombin time.           15       His iron level's listed as 53 with a
  16    Q. But prior to February 3rd of 2014, to your     16 normal of 45 to 160; is that right?
  17 knowledge, Mr. Boudreaux did not have any            17    A. That's correct.
  18 elevations in his prothrombin time?                  18       But I should mention this was after
  19       MS. duPONT:                                    19 transfusion. So once you transfuse a patient,
  20          Object to form.                             20 since each unit of blood contains about
  21       THE WITNESS:                                   21 500 milligrams of iron, iron studies are
  22          I'm going to go back and check to see       22 unreliable and uninterpretable.
  23       what his prothrombin time was.                 23    Q. How --
  24 BY MR. GOZA:                                         24    A. So these tests were done after
  25    Q. You can look at the time that he had his       25 transfusion.

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   1 atrial fibrillation in January, and it'll be -- I     1 Q. Okay. And how about with respect to the
   2 think you've got it documented in your chart.      2 TIBC?
   3    A. I -- I have it documented throughout. Let    3    A. Same thing. It was done after
   4 me just look.                                      4 transfusion. It's uninterpretable.
   5    Q. On Page 4.                                   5    Q. And I'm assuming the -- the --
   6    A. No. I want to look.                          6    A. Same thing for the sat and the ferritin.
   7    Q. I don't think there is any other --          7 Correct.
   8    A. If there's none before that, then I . . .    8    Q. I was getting there.
   9 PT was normal at 11.4. Okay.                       9    A. I jumped ahead for you.
  10    Q. Yeah.                                       10      MR. GOZA:
  11       So the -- the -- as far as you know, the    11          Why don't we take just a couple-minute
  12 -- the only PT you have documented in your report 12      break. I think I'm done.
  13 was the month before, and it was normal?          13      MS. duPONT:
  14    A. I believe I have PTs documented after that  14          Okay.
  15 as well --                                        15      THE VIDEOGRAPHER:
  16    Q. Okay.                                       16          We're now off the record at 11:36.
  17    A. -- specifically at the time he was          17      (Brief recess was taken.)
  18 admitted, etcetera, but I don't think those times 18      THE VIDEOGRAPHER:
  19 are P -- prothrombin times that you're referring  19          We're now back on the record. The
  20 to.                                               20      time is 11:46.
  21    Q. You mentioned that if someone has iron      21 BY MR. GOZA:
  22 anemia that's a result of loss of blood from an   22    Q. All right. If you would pull up -- and I
  23 occult bleed it can be associated with low iron,  23 think it's Exhibit 5. Is that Mueck's article?
  24 elevated TIBC, and low ferritin; is that right?   24      MS. duPONT:
  25       MS. duPONT:                                 25          Mueck?

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   1       MR. GOZA:                                           1          So we talked about this before the
   2         Mueck.                                            2       break. And this is exactly the graph I
   3       MS. duPONT:                                         3       was referring to, on the same page,
   4         Yeah.                                             4       Graph B.
   5       THE WITNESS:                                        5          The problem with that graph is if you
   6         Mueck's Article 5.                                6       look on the x-axis, the rivaroxaban plasma
   7 BY MR. GOZA:                                              7       concentrations --
   8    Q. If you look on Page 9 -- you and I have             8 BY MR. GOZA:
   9 been talking about dose-dependent concentration           9     Q. That's what I was going to -- is -- the
  10 levels, and we had read through the label. And I         10 x-axis, that would be the horizontal --
  11 -- I want to understand just a couple of things.         11     A. Correct. The --
  12 Mueck, down at the -- on the far left-hand side of       12     Q. -- axis?
  13 that statement -- or far left-hand side of that          13     A. -- x is horizontal.
  14 page, about halfway down, said, "The inhibition of       14     Q. Okay.
  15 Factor Xa activity and plasma concentrations of          15     A. And that -- carrying that out to 600 is
  16 rivaroxaban were closely correlated according to a       16 about six-fold what you get with typical drug
  17 maximum effect (Emax)" mode. "Prolongation of the 17 dosing. If you look at the part of this graph
  18 PT (using Neoplastin) was correlated with the            18 where the x-axis only goes from 0 to 100 -- or
  19 rivaroxaban plasma concentrations in a linear            19 I'll even give you 0 to 200 -- that linearity
  20 relationship."                                           20 falls off pretty quickly.
  21       First, let's make sure I read that right.          21       So when you say there's a linear
  22 Did I?                                                   22 correlation, it depends on what part of the graph
  23    A. You did.                                           23 you're looking at. And things get much less
  24       MS. duPONT:                                        24 linear, i.e., there's much more scatter, at the
  25         And I just want to interject a                   25 serum concentrations that are typical with the

                                                Page 155                                                  Page 157
   1       objection here, that this is beyond the       drug.
                                                             1
   2       scope of Mr. Boudreaux's report. This       2    Q. In coming up -- and again, this is --
   3       really does not have to do with             3 strike that.
   4       Mr. Boudreaux. So you better lay a          4       We've established that -- that Dr. Mueck
   5       foundation quick.                           5 is an employee of Bayer. And he looks at this
   6       MR. GOZA:                                   6 model, though, and comes to the conclusion that
   7          Well, I -- I'm going to be there         7 there's a linear relationship with prolongation of
   8       quickly.                                    8 PT and concentration levels; is that correct?
   9 BY MR. GOZA:                                      9    A. So that conclusion can be drawn from
  10    Q. So when we had talked a little bit about   10 Graph B if you look at the -- the range of serum
  11 -- in your report you say, you know, PT is not 11 -- plasma concentrations that greatly exceed the
  12 related --                                       12 -- those that you see in typical dosing. So
  13       MS. duPONT:                                13 Dr. Mueck is -- is making a statement based on
  14          Object to form.                         14 this total graph. When pharmacokinetic and
  15 BY MR. GOZA:                                     15 pharmacodynamic studies are done, they're done
  16    Q. -- in terms of the effect of the -- of the 16 over a dosing range in part to find out what the
  17 drug or concentration levels. So I'm trying to 17 dose that the patient should be treated with
  18 make sure I understand this.                     18 actually is. And it's a dose-finding study. So
  19       Is -- is this -- is, first of all, what    19 that linearity applies to that line over a very,
  20 Dr. Mueck's saying is that as you give -- get a 20 very broad dosing range.
  21 higher concentration of Xarelto in the blood it 21        Dr. Mueck does not -- and it -- Dr. Mueck
  22 results in a prolongation of the PT time?        22 just doesn't talk about the part -- portion of the
  23       MS. duPONT:                                23 curve that you see with typical doses or the doses
  24          Object to form.                         24 that we use in patients. That would be the
  25       THE WITNESS:                               25 proximal part of the curve, the part closest to


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   1 the origin, and you can see significant scatter on 1           Last question.
   2 that diagram in that range.                         2 BY MR. GOZA:
   3    Q. Are you able to determine at -- for           3    Q. So is it fair --
   4 instance, you said I -- I'll give you to            4        MS. duPONT:
   5 200 milligrams. How is it, first of all, that       5          I want you to move on.
   6 they -- well, strike that.                          6        MR. GOZA:
   7       It -- how far back do you go before you       7          Well, I'm going to -- just one
   8 see the linear -- linear relationship that Mueck    8        question.
   9 is referring to?                                    9 BY MR. GOZA:
  10       MS. duPONT:                                  10    Q. And at least you don't see that R-squared
  11          Object to form.                           11 number in this article; is that --
  12       THE WITNESS:                                 12        MS. duPONT:
  13          I think Dr. Mueck is referring to         13          Object to form.
  14       linearity over the entire dose range.        14 BY MR. GOZA:
  15       MR. GOZA:                                    15    Q. -- correct?
  16          Okay.                                     16        MS. duPONT:
  17       THE WITNESS:                                 17          Object to form.
  18          He doesn't break it down by dose. And 18 BY MR. GOZA:
  19       that's why the statement is only true over   19    Q. And by the way, I'm not saying it's there.
  20       that entire dose range.                      20 I -- I'm -- I'm just asking the question.
  21          I'm also going to add that there's no     21        MS. duPONT:
  22       R-squared. There's no correlation            22          You can answer.
  23       coefficient. So the exact linearity -- he    23        THE WITNESS:
  24       states it's linear, but I'd like to know     24          Oh, I'm sorry. I --
  25       an R-squared to know how linear this         25        MS. duPONT:
                                             Page 159                                             Page 161
   1      relationship actually is.                     1          Yeah.
   2 BY MR. GOZA:                                       2       THE WITNESS:
   3    Q. Okay. And that gets to I -- I -- I guess     3          -- didn't realize you were waiting for
   4 my -- my point in this.                            4       me.
   5      What you're saying is in order to give        5          I don't see an R-squared associated
   6 more weight to his statement, you'd want to know   6       with that line. No.
   7 what the R-squared number was with respect to the 7        MR. GOZA:
   8 linearity. Is that true?                           8          Okay. All right. With that, I don't
   9      MS. duPONT:                                   9       have any other questions for you.
  10         Object to form.                           10       MS. duPONT:
  11      THE WITNESS:                                 11          So I -- I don't think I have any
  12         So one way of assessing the best fit      12       questions either.
  13      of a line is the least squares method,       13       MR. HOGUE:
  14      where you calculate an R-squared or a        14          All right.
  15      correlation coefficient that basically is    15       THE VIDEOGRAPHER:
  16      an indication of the percentage of data      16          Today's --
  17      points that are accounted for by the line.   17       MR. GOZA:
  18      I'd like to know an R-squared, but           18          Okay.
  19      specifically I'd like to know an R-squared   19       THE VIDEOGRAPHER:
  20      over the plasma concentrations that are      20          Today's deposition consists of three
  21      found with typical dosing.                   21       tapes. This is the end of Tape 3. We're
  22      MS. duPONT:                                  22       now off the record at 11:54.
  23         Kirk, that has gone way beyond            23
  24      Boudreaux. I think you need to move on.      24
  25      MR. GOZA:                                    25


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   1       CHANGES AND SIGNATURE                                    1           CERTIFICATE
   2 WITNESS NAME: MARC J. KAHN, M.D., M.B.A.                       2   This certification is valid only for
   3 DATE OF DEPOSITION: Friday, January 13, 2017                   3 a transcript accompanied by my original signature
   4                                                                4 and original seal on this page.
   5   PAGE LINE     CHANGE                  REASON                 5   I, AURORA M. PERRIEN, Registered Professional
   6   ____ ____ _______________           _______________          6 Reporter, Certified Court Reporter, in and for the
   7   ____ ____ _______________           _______________          7 State of Louisiana, as the officer before whom
   8   ____ ____ _______________           _______________          8 this testimony was taken, do hereby certify that
   9   ____ ____ _______________           _______________          9 MARC J. KAHN, M.D., M.B.A., after having been duly
  10   ____ ____ _______________           _______________         10 sworn by me upon the authority of R.S. 37:2554,
  11   ____ ____ _______________           _______________         11 did testify as hereinbefore set forth in the
  12   ____ ____ _______________           _______________         12 foregoing 163 pages; that this testimony was
  13   ____ ____ _______________           _______________         13 reported by me in the stenotype reporting method,
  14   ____ ____ _______________           _______________         14 was prepared and transcribed by me or under my
  15   ____ ____ _______________           _______________         15 personal direction and supervision, and is a true
  16   ____ ____ _______________           _______________         16 and correct transcript to the best of my ability
  17   ____ ____ _______________           _______________         17 and understanding; that the transcript has been
  18   ____ ____ _______________           _______________         18 prepared in compliance with transcript format
  19   ____ ____ _______________           _______________         19 guidelines required by statute or by rules of the
  20   ____ ____ _______________           _______________         20 board; and that I am informed about the complete
  21   ____ ____ _______________           _______________         21 arrangement, financial or otherwise, with the
  22   ____ ____ _______________           _______________         22 person or entity making arrangements for
  23   ____ ____ _______________           _______________         23 deposition services; that I have acted in
  24   ____ ____ _______________           _______________         24 compliance with the prohibition on contractual
  25   ____ ____ _______________           _______________         25 relationships, as defined by Louisiana Code of

                                                        Page 163                                                    Page 165
   1            WITNESS' CERTIFICATE                                1 Civil Procedure Article 1434 and in rules and
   2                                                                2 advisory opinions of the board; that I have no
   3   I have read or have had the foregoing                        3 actual knowledge of any prohibited employment or
   4 testimony read to me and hereby certify that it is             4 contractual relationship, direct or indirect,
   5 a true and correct transcription of my testimony               5 between a court reporting firm and any party
   6 with the exception of any attached corrections or              6 litigant in this matter nor is there any such
   7 changes.                                                       7 relationship between myself and a party litigant
   8                                                                8 in this matter. I am not related to counsel or to
   9                                                                9 the parties herein, nor am I otherwise interested
  10                                                               10 in the outcome of this matter.
  11                                                               11
  12                                                               12
  13                                                               13
  14                                                               14
  15                                                               15           AURORA M. PERRIEN, CCR, RPR
  16                                                               16
  17                                                               17
  18               ______________________                          18
  19                 WITNESS' SIGNATURE                            19
  20                                                               20
  21                                                               21
  22                                                               22
  23 PLEASE INDICATE                                               23
  24 [] NO CORRECTIONS                                             24
  25 [] CORRECTIONS; ERRATA SHEET(S) ENCLOSED                      25


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